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                       Exhibit C
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                                  United States District Court
                                 Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                   Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/


          SOUTHERN DISTRICT OF NEW YORK LOCAL RULE 56.1 PLAINTIFF’S
     STATEMENT OF CONTESTED FACTS AND PLAINTIFF’S UNDISPUTED FACTS


DEFENDANT’S PURPORTED FACTS

1.      Ms. Maxwell’s response to publications of Ms. Giuffre’s false allegations: the March
        2011 statement. In early 2011 Ms. Giuffre in two British tabloid interviews made
        numerous false and defamatory allegations against Ms. Maxwell. In the articles, Ms.
        Giuffre made no direct allegations that Ms. Maxwell was involved in any improper
        conduct with Jeffrey Epstein, who had pleaded guilty in 2007 to procuring a minor for
        prostitution. Nonetheless, Ms. Giuffre suggested that Ms. Maxwell worked with Epstein
        and may have known about the crime for which he was convicted.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

         Ms. Giuffre denies that the allegations she made against Ms. Maxwell are false.

Furthermore, Ms. Giuffre did give an interview to journalist, Sharon Churcher, in which Ms.

Giuffre accurately and truthfully described Defendant Maxwell's role as someone who recruited

or facilitated the recruitment of young females for Jeffrey Epstein.   See McCawley Dec. at

Exhibit 34, GIUFFRE003678. Ms. Giuffre was also interviewed by the FBI in 2011 and she

discussed Defendant’s involvement in the sexual abuse. See McCawley Dec. at Exhibit 31, FBI

Redacted 302, FIUFFRE001235-1246. Those statements were not "false and defamatory," but

instead truthful and accurate.


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DEFENDANT’S PURPORTED FACTS

2.     In the articles, Ms. Giuffre alleged she had sex with Prince Andrew, “a well-known
       businessman,” a “world-renowned scientist,” a “respected liberal politician,” and a
       “foreign head of state.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre does not contest this fact, but believes that it is irrelevant.

DEFENDANT’S PURPORTED FACTS

3.     In response to the allegations Ms. Maxwell’s British attorney, working with Mr. Gow,
       issued a statement on March 9, 2011, denying “the various allegations about [Ms.
       Maxwell] that have appeared recently in the media. These allegations are all entirely
       false.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre denies that Mr. Barden, “issued a statement.” Instead it appears to have the

contact as Ross Gow and a reference to Devonshire Solicitors.

DEFENDANT’S PURPORTED FACTS

4.     The statement read in full:

       Statement on Behalf of Ghislaine Maxwell
       By Devonshires Solicitors, PRNE Wednesday, March 9, 2011
       London, March 10, 2011 - Ghislaine Maxwell denies the various allegations about her
       that have appeared recently in the media. These allegations are all entirely false.
       It is unacceptable that letters sent by Ms. Maxwell’s legal representatives to certain
       newspapers pointing out the truth and asking for the allegations to be withdrawn have
       simply been ignored.
       In the circumstances, Ms. Maxwell is now proceeding to take legal action against those
       newspapers.
       “I understand newspapers need stories to sell copies. It is well known that certain
       newspapers live by the adage, “why let the truth get in the way of a good story.”
       However, the allegations made against me are abhorrent and entirely untrue and I ask
       that they stop,” said Ghislaine Maxwell.
       “A number of newspapers have shown a complete lack of accuracy in their reporting of
       this story and a failure to carry out the most elementary investigation or any real due
       diligence. I am now taking action to clear my name,” she said.



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       Media contact:
       Ross Gow
       Acuity Reputation
       Tel: +44-203-008-7790
       Mob: +44-7778-755-251
       Email: ross@acuityreputation.com
       Media contact: Ross Gow, Acuity Reputation, Tel: +44-203-008-7790,
       Mob: +44-7778-755-251, Email: ross at acuityreputation.com


MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       The document speaks for itself although it is unclear if the original included the italics

that are inserted by the Defendant above.

DEFENDANT’S PURPORTED FACTS

5.     Ms. Giuffre’s gratuitous and “lurid” accusations in an unrelated action. In 2008 two
       alleged victims of Epstein brought an action under the Crime Victims’ Rights Act against
       the United States government purporting to challenge Epstein’s plea agreement. They
       alleged the government violated their CVRA rights by entering into the agreement.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       While we would stipulate to the statement in this paragraph starting with the words “In

2008” , we do not stipulate to the opening sentence fragment Maxwell places in bold.

DEFENDANT’S PURPORTED FACTS

6.     Seven years later, on December 30, 2014, Ms. Giuffre moved to join the CVRA action,
       claiming she, too, had her CVRA rights violated by the government. On January 1, 2015,
       Ms. Giuffre filed a “corrected” joinder motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Agreed.

DEFENDANT’S PURPORTED FACTS

7.     The issue presented in her joinder motion was narrow: whether she should be permitted
       to join the CVRA action as a party under Federal Rule of Civil Procedure 21,
       specifically, whether she was a “known victim[] of Mr. Epstein and the Government
       owed them CVRA duties.” Yet, “the bulk of the [motion] consists of copious factual
       details that [Ms. Giuffre] and [her co-movant] ‘would prove . . . if allowed to join.’” Ms.



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       Giuffre gratuitously included provocative and “lurid details” of her alleged sexual
       activities as an alleged victim of sexual trafficking.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre denies that the issues presented in here joinder motion were narrow. The

issues presented by the joinder motion and related pleadings were multiple and complex,

requiring numerous details about Ms. Giuffre’s sexual abuse and the perpetrators of her abuse.

In a pleading explaining why the motion was filed, Ms. Giuffre’s lawyers sp ecifically listed nine

separate reasons why Jane Doe 3’s allegations that Dershowitz had sexually abused her were

relevant to the case and appropriately included in the relevant filings:

               1.     To establish that Jane Doe 3 had been sexually abused by Jeffrey Epstein
       and his co-conspirators (including co-conspirator Alan Dershowitz), which would make
       her a “victim” of a broad sex trafficking conspiracy covered by the federal Crime
       Victims’ Rights Act, 18 U.S.C. § 3771, and therefore entitled to participate in the case;

               2. To support then-pending discovery requests that asked specifically for
       information related to contacts by Dershowitz with the Government on behalf of
       Jeffrey Epstein;

                3. To support the victims’ allegation that the Government had a motive for
       failing to afford victims with their rights in the criminal process – specifically,
       pressure from Dershowitz and other members of Epstein’s legal defense team to
       keep the parameters of the non-prosecution agreement (NPA) secret to prevent
       Jane Doe 3 and other victims from objecting to and blocking judicial approval of
       the agreement;

               4. To establish the breadth of the NPA’s provision extending immunity to
       “any potential co-conspirators of Epstein” and the scope of the remedy that the
       victims (including not only Jane Doe 3 but also other similarly-situated minor
       victims who had been sexually abused by Dershowitz) might be able to obtain for
       violations of their rights;

               5. To provide part of the factual context for the scope of the “interface”
       between the victims, the Government, and Epstein’s defense team – an interface
       that was relevant under Judge Marra’s previous ruling that the Government was
       entitled to raise “a fact-sensitive equitable defense which must be considered in
       the factual context of the entire interface between Epstein, the relevant
       prosecutorial authorities and the federal offense victims . . .”;




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               6. To prove the applicability of the “crime/fraud/misconduct” exception to
       the attorney-client privilege that was being raised by the Government in
       opposition to the victims’ motion for production of numerous documents;

               7. To bolster the victims’ argument that their right “to be treated with
       fairness,” 18 U.S.C. § 3771(a)(8), had been violated through the Government’s
       secret negotiations with one of their abusers;

               8. To provide notice and lay out the parameters of potential witness
       testimony for any subsequent proceedings or trial – i.e., the scope of the testimony
       that Jane Doe 3 was expected to provide in support of Jane Doe 1 and Jane Doe 2,
       the already-recognized Ms. Giuffre in the action; and

               9. To support Jane Doe 3’s argument for equitable estoppel to toll the six-
       year statute of limitations being raised by the Government in opposition to her
       motion to join – i.e., that the statute was tolled while she was in hiding in
       Australia due to the danger posed by Epstein and his powerful friends, including
       prominent lawyer Alan Dershowitz.

Jane Does #1 and #2 v. United States, No. 9:08-cv-80736, DE 291 at 18-26 & n.17 (S.D. Fla.

2015). Ms. Giuffre’s lawyers had attempted to obtain a stipulation from the Government on

point #1 above (“victim” status), but the Government had declined. Judge Marra’s ruling

concluded that certain allegations were not necessary “at this juncture in the proceedings.” DE

324 at 5. Judge Marra specifically added, however, that “Jane Doe 3 is free to reassert these

factual details through proper evidentiary proof, should Petitioners demonstrate a good faith

basis for believing that such details are pertinent to a matter presented for the Court’s

consideration.” DE 324 at 6. The CVRA litigation continues and no trial has been held as of the

filing of this brief. As such, the extent to which these factual details will be used at trial has not

yet been determined. See Docket Sheet, Jane Does #1 and #2 v. U.S., No. 9:08-cv-80736.

DEFENDANT’S PURPORTED FACTS

8.     At the time they filed the motion, Ms. Giuffre and her lawyers knew that the media had
       been following the Epstein criminal case and the CVRA action. While they deliberately
       filed the motion without disclosing Ms. Giuffre’s name, claiming the need for privacy
       and secrecy, they made no attempt to file the motion under seal. Quite the contrary, they
       filed the motion publicly.



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MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

      See Ms. Giuffre’s Response to Point #7, above.

DEFENDANT’S PURPORTED FACTS
9.    As the district court noted in ruling on the joinder motion, Ms. Giuffre “name[d] several
      individuals, and she offers details about the type of sex acts performed and where they
      took place.” The court ruled that “these lurid details are unnecessary”: “The factual
      details regarding whom and where the Jane Does engaged in sexual activities are
      immaterial and impertinent . . ., especially considering that these details involve non-
      parties who are not related to the respondent Government.” Accordingly, “[t]hese
      unnecessary details shall be stricken.” Id. The court then struck all Ms. Giuffre’s factual
      allegations relating to her alleged sexual activities and her allegations of misconduct by
      non-parties. The court said the striking of the “lurid details” was a sanction for Ms.
      Giuffre’s improper inclusion of them in the motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

      See Ms. Giuffre’s Response to Point #7, above.

DEFENDANT’S PURPORTED FACTS

10.   The district court found not only that the “lurid details” were unnecessary but also that
      the entire joinder motion was “entirely unnecessary.” Ms. Giuffre and her lawyers knew
      the motion with all its “lurid details” was unnecessary because the motion itself
      recognized that she would be able to participate as a fact witness to achieve the same
      result she sought as a party. The court denied Ms. Giuffre’s joinder motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

      See Ms. Giuffre’s Response to Point #7, above.

DEFENDANT’S PURPORTED FACTS

11.   One of the non-parties Ms. Giuffre “named” repeatedly in the joinder motion was Ms.
      Maxwell. According to the “lurid details” of Ms. Giuffre included in the motion, Ms.
      Maxwell personally was involved in a “sexual abuse and sex trafficking scheme” created
      by Epstein:

         Ms. Maxwell “approached” Ms. Giuffre in 1999 when Ms. Giuffre was “fifteen
          years old” to recruit her into the scheme.
         Ms. Maxwell was “one of the main women” Epstein used to “procure under-aged
          girls for sexual activities.”
         Ms. Maxwell was a “primary co-conspirator” with Epstein in his scheme.




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            She “persuaded” Ms. Giuffre to go to Epstein’s mansion “in a fashion very similar to
             the manner in which Epstein and his other co-conspirators coerced dozens of other
             children.”
            At the mansion, when Ms. Giuffre began giving Epstein a massage, he and Ms.
             Maxwell “turned it into a sexual encounter.”
            Epstein “with the assistance of” Ms. Maxwell “converted [Ms. Giuffre] into . . . a
             ‘sex slave.’” Id. Ms. Giuffre was a “sex slave” from “about 1999 through 2002.”
            Ms. Maxwell also was a “co-conspirator in Epstein’s sexual abuse.”
            Ms. Maxwell “appreciated the immunity” she acquired under Epstein’s plea
             agreement, because the immunity protected her from prosecution “for the crimes she
             committed in Florida.”
            Ms. Maxwell “participat[ed] in the sexual abuse of [Ms. Giuffre] and others.”
            Ms. Maxwell “took numerous sexually explicit pictures of underage girls involved in
             sexual activities, including [Ms. Giuffre].” Id. She shared the photos with Epstein.
            As part of her “role in Epstein’s sexual abuse ring,” Ms. Maxwell “connect[ed]”
             Epstein with “powerful individuals” so that Epstein could traffic Ms. Giuffre to these
             persons.
            Ms. Giuffre was “forced to have sexual relations” with Prince Andrew in
            “[Ms. Maxwell’s] apartment” in London. Ms. Maxwell “facilitated” Ms. Giuffre’s
            sex with Prince Andrew “by acting as a ‘madame’ for Epstein.”
            Ms. Maxwell “assist[ed] in internationally trafficking” Ms. Giuffre and “numerous
             other young girls for sexual purposes.”
            Ms. Giuffre was “forced” to watch Epstein, Ms. Maxwell and others “engage in
             illegal sexual acts with dozens of underage girls.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       See Ms. Giuffre’s Response to Point #7, above. Ms. Giuffre contests the reference to

“lurid details”. Moreover, the testimony from numerous witnesses corroborates the statements

Ms. Giuffre made in her joinder motion. See below.

      See McCawley Dec. at Exhibit 16, Sjoberg’s May 18, 2016 Dep. Tr. at 8-9, 13, 33-35,

       142-143

      See McCawley Dec. at Exhibit 4, Figueroa June 24, 2016 Dep. Tr. Vol. 1 at 96-97 and

       103

      See McCawley Dec. at Exhibit 14, Rinaldo Rizzo’s June 10, 2016 Dep. Tr. at 52-60

      See McCawley Dec. at Exhibit 12, Lynn Miller’s May 24, 2016 Dep. Tr. at 115

      See McCawley Dec. at Exhibit 13, Joseph Recarey’s June 21, 2016 Dep. Tr. at 29-30


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   See McCawley Dec. at Exhibit 15, David Rodgers’ June 3, 2016 Dep. Tr. at 18, 34-36

   Exhibit 2 Excerpted Rodgers Dep. Ex. 1 at flight #s 1433-1434, 1444-1446, 1464-1470,

    1478-1480, 1490-1491, 1506, 1525-1526, 1528, 1570 and 1589

   See McCawley Dec. at Exhibit 10, Marcinkova Dep. Tr. at 10:18-21; 12:11-15; etc.

   See McCawley Dec. at Exhibit 8, Kellen Dep. Tr. at 15:13-18; 20:12-16; etc. Epstein

    Dep. Tr. at 116:10-15; 117:18-118:10; etc.

   See McCawley Dec. at Exhibit 1, Alessi Dep. Tr. at 28, 52-54

   See McCawley Dec. at Exhibit 30, U.S. Attorney Victim Notification Letter

    GIUFFRE002216-002218

   See McCawley Dec. at Exhibit 33, July 2001 New York Presbyterian Hospital Records

    GIUFFRE003258-003290

   J See McCawley Dec. at Exhibit 38, Judith Lightfoot psychological records

    GIUFFRE005431-005438

   See McCawley Dec. at Exhibit 28, Message Pad evidencing Defendant arranging to have

    underage girls and young women come to Epstein’s home GIUFFRE001386-001571

   See McCawley Dec. at Exhibit 29, Black Book in which Defendant and other household

    staff maintained a roster of underage girls including

                   , who were minors at the time the Palm Beach Police’s Investigation of

    Jeffrey Epstein GIUFFRE001573-00669

   See McCawley Dec. at Exhibit 40, Sex Slave books Epstein ordered from Amazon.com at

    GIUFFRE006581

   See McCawley Dec. at Exhibit 32, the folder Defendant sent to Thailand with Ms.

    Giuffre bearing Defendant’s phone number GIUFFRE003191-003192



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         See McCawley Dec. at Exhibit 39, the Palm Beach Police Report showing that Epstein

          used women and girls to collect underage girls for his abuse GIUFFRE005614-005700

         See McCawley Dec. at Exhibit 41, Epstein’s Flight Logs showing that Defendant flew

          with Ms. Giuffre 23 times GIUFFRE007055-007161

DEFENDANT’S PURPORTED FACTS

12.       In the joinder motion, Ms. Giuffre also alleged she was “forced” to have sex with
          Harvard law professor Alan Dershowitz, “model scout” Jean Luc Brunel, and “many
          other powerful men, including numerous prominent American politicians, powerful
          business executives, foreign presidents, a well-known Prime Minister, and other world
          leaders.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

          See Response to Point #7 and 11, above.

DEFENDANT’S PURPORTED FACTS

13.       Ms. Giuffre said after serving for four years as a “sex slave,” she “managed to escape to a
          foreign country and hide out from Epstein and his co-conspirators for years.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

        Agreed that Ms. Giuffre made this statement and has since discovered evidence that
indicates she was mistaken on the exact timeframe of her abuse and was with Defendant and
Jeffrey Epstein from the years 2000 – 2002.

DEFENDANT’S PURPORTED FACTS

14.       Ms. Giuffre suggested the government was part of Epstein’s “conspiracy” when it
          “secretly” negotiated a non-prosecution agreement with Epstein precluding federal
          prosecution of Epstein and his “co-conspirators.” The government’s secrecy, Ms. Giuffre
          alleged, was motivated by its fear that Ms. Giuffre would raise “powerful objections” to
          the agreement that would have “shed tremendous public light on Epstein and other
          powerful individuals.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

          Ms. Giuffre did not suggest that the Government was part of Epstein's conspiracy to

commit sex offenses. The CVRA case deals with whether the Government failed in their

responsibilities to the victims to inform the victims that the Government was working out a NPA,


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and it is Ms. Giuffre's belief that the Government did fail to so inform the victims, and

intentionally did not inform the victims because the expected serious objection from many of the

victims might prevent the Government from finalizing a NPA with Epstein. See McCawley Dec.

at Exhibit 50, Joinder Motion (GIUFFRE00319-00333).

DEFENDANT’S PURPORTED FACTS

15.    Notably, the other “Jane Doe” who joined Ms. Giuffre’s motion who alleged she was
       sexually abused “many occasions” by Epstein was unable to corroborate any of Ms.
       Giuffre’s allegations.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This is untrue. The other Jane Doe could corroborate many of Ms. Giuffre's allegations

based on a similar pattern of abuse that she suffered by Epstein. She did not know Ms. Giuffre

though.                 , who was deposed in this case, and who was a minor, corroborates the

same pattern of abuse. See McCawley Dec. at Exhibit 7,         Dep. Tr. at 54:25-57:5.

DEFENDANT’S PURPORTED FACTS

16.    Also notably, in her multiple and lengthy consensual interviews with Ms. Churcher three
       years earlier, Ms. Giuffre told Ms. Churcher of virtually none of the details she described
       in the joinder motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This is untrue. Furthermore, Defendant does not offer any citation or evidence on this

point. Defendant's statement here is knowingly false. Having read the articles and taken Ms.

Giuffre's deposition, Defendant knows that Ms. Giuffre did reveal details in 2011 consistent with

those in the joinder motion. See McCawley Dec. at Exhibit 31, GIUFFRE003678, FBI Redacted

302, GIUFFRE001235-1246.

DEFENDANT’S PURPORTED FACTS

17.    Ms. Maxwell’s response to Ms. Giuffre’s “lurid” accusations: the January 2015
       statement. As Ms. Giuffre and her lawyers expected, before District Judge Marra in the


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        CVRA action could strike the “lurid details” of Ms. Giuffre’s allegations in the joinder
        motion, members of the media obtained copies of the motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

        See Ms. Giuffre’s Response to Point #7, above.

DEFENDANT’S PURPORTED FACTS

18.     At Mr. Barden’s direction, on January 3, 2015, Mr. Gow sent to numerous representatives
        of British media organizations an email containing “a quotable statement on behalf of
        Ms. Maxwell.” The email was sent to more than 6 and probably less than 30 media
        representatives. It was not sent to non-media representatives.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

        Defendant falsely claims that “[a]t Mr. Barden’s direction, on January 3, 2015, Mr. Gow

sent to numerous representatives of British media organizations an email containing ‘a quotable

statement on behalf of Ms. Maxwell.’” This is a blatant falsehood about the document that is at

the heart of this litigation. Record evidence shows that Gow sent that email at Defendant’s

direction, not at Mr. Barden’s direction. Indeed, on the evening before his deposition, Mr. Gow

produced an email exchange he had with Defendant in which Defendant directs Mr. Gow to send

the press statement. It is as follows:




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       Chronologically, this email comes at the end of various other email exchanges between

Defendant and Gow that discuss issuing a press release. The subject line of this email that

Defendant wrote to Gow states “URGENT – this is the statement,” thereby instructing Gow to

release this statement to the press. Shortly after Defendant sent this email to Gow directing him

to release the statement, Gow distributed the statement to multiple media outlets. Neither

Defendant nor Gow have produced any email in which Barden directed Gow to issue this press

release (nor can they).

       Despite sending it herself, and despite it being responsive to six court-ordered search

terms, Defendant failed to produce this email. Her press agent, Gow, produced this the evening

before his deposition on November 17, 2016. At the deposition, Mr. Gow authenticated this

email and confirmed that Defendant authorized the statement:

       Q. When you sent that email were you acting pursuant to Ms. Maxwell's retention of your
       services?
       A. Yes, I was.
       ***
        (Exhibit 9 was marked for identification.)
       Q. This also appears to be an email chain with you and Ms. Maxwell; is that correct?
       A. It does appear to be so.
       Q. Did you send the top email of the chain that says "Okay, G, going with this"?
       A. I did.
       Q. And did you receive from Ms. Maxwell, the bottom email of that chain?
       A. I believe so. Well, I believe -- yes, yeah, it was forwarded from Ms. Maxwell, yes.
       MR. DYER: Sorry, I don't quite understand that answer.
       THE WITNESS: I misspoke that. I did receive it from Ms. Maxwell.
       MR. DYER: Okay.
       Q. The subject line does have “FW” which to me indicates it’s a forward. Do you know
       where the rest of this email chain is?
       A. My understanding of this is: It was a holiday in the UK, but Mr. Barden was not
       necessarily accessible at some point in time, so this had been sent to him originally by
       Ms. Maxwell, and because he was unavailable, she forwarded it to me for immediate
       action. I therefore respond, “Okay, Ghislaine, I’ll go with this.”
               It is my understanding that this is the agreed statement because the subject of the
       second one is “Urgent, this is the statement” so I take that as an instruction to send it out,
       as a positive command: “This is the statement.”




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See McCawley Decl. at Exhibit 6, November 18, 2016, Ross Gow Dep. Tr. at 14:15-17; 44:6-

45:13.

         Together, the email and Gow’s testimony unequivocally establish that Defendant – not

Barden – directed and “command[ed]” Gow to publish the defamatory statement. Accordingly,

the first sentence of Defendant’s Paragraph 18 is false.

         The second sentence – “This email was sent to more than 6 and probably less than 30

media representatives” – omits the fact that not only did Gow admit to emailing the statement to

the press, but he also read it to over 30 media representatives over the phone:

         Q. Do you recall ever reading the statement to the press or the media over the phone?
         A. It's very possible that I would have done so, yes.

See McCawley Decl. at Exhibit 6, Gow Dep. Tr. at 66:2-25.

         Q. Do you -- do you remember discussing that with The Guardian?
         A. No, I don't. I'm not saying I didn't but I can't recall. You have to bear in mind, if you'd
         be so kind, that I've been speaking to over 30 journalists and media outlets about this,
         and I can't recall every single -- the detail of every single conversation.

See McCawley Decl. at Exhibit 6, Gow Dep. Tr. at 64:8-14 (emphasis added). Thus, the second

sentence of Defendant’s Paragraph 18 is also false.

DEFENDANT’S PURPORTED FACTS

19.      Among the media representatives were Martin Robinson of the Daily Mail; P. Peachey of
         The Independent; Nick Sommerlad of The Mirror; David Brown of The Times; and Nick
         Always and Jo-Anne Pugh of the BBC; and David Mercer of the Press Association.
         These representatives were selected based on their request—after the joinder motion was
         filed—for a response from Ms. Maxwell to Ms. Giuffre’s allegations in the motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

         Ms. Giuffre agrees to the first sentence. The second sentence is a false. Accordingly,

there is no record evidence that Gow (or anyone else) “selected” journalists “for a response,” or

that there was any selection process whatsoever. To the contrary, Gow testified that anyone who

inquired received a reference to the January 2015 defamatory response:


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      Q. To the extent you can recall or could estimate, how many other emails do you believe
      you sent bearing that statement that's in Exhibit 2?

      A. I really can't remember but certainly more than six and probably less than 30,
      somewhere in between. Any time there was an incoming query it was either dealt with on
      the telephone by referring them back to the two statements of March 2011 and January
      2015 or someone would email them the statement. So no one was left unanswered,
      broadly, is the -- is where we were. But I can't remember every single person we reached
      out to.

See McCawley Dec at Exhibit 6 Gow Dep. Tr. at 67:15-68:1 (emphasis added).

DEFENDANT’S PURPORTED FACTS

20.   The email to the media members read:

      To Whom It May Concern,
      Please find attached a quotable statement on behalf of Ms. Maxwell.
      No further communication will be provided by her on this matter.
      Thanks for your understanding.
      Best Ross

      Ross Gow
      ACUITY Reputation

      Jane Doe 3 is Virginia Roberts—so not a new individual. The allegations made by
      Victoria Roberts against Ghislaine Maxwell are untrue. The original allegations are not
      new and have been fully responded to and shown to be untrue.

      Each time the story is re told [sic] it changes with new salacious details about public
      figures and world leaders and now it is alleged by Ms. Roberts [sic] that Alan
      Derschowitz [sic] is involved in having sexual relations with her, which he denies.

      Ms. Roberts claims are obvious lies and should be treated as such and not publicized as
      news, as they are defamatory.

      Ghislaine Maxwell’s original response to the lies and defamatory claims remains the
      same. Maxwell strongly denies allegations of an unsavoury nature, which have appeared
      in the British press and elsewhere and reserves her right to seek redress at the repetition
      of such old defamatory claims.



MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS




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       While Defendant cropped the body text of the email that was sent to news media

representatives, she completely omitted the headings and metadata. Ms. Giuffre has put an image

of the email below in Ms. Giuffre’s Paragraph. See GM_00068.




DEFENDANT’S PURPORTED FACTS



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21.    Mr. Barden, who prepared the January 2015 statement, did not intend it as a traditional
       press release solely to disseminate information to the media. So he intentionally did not
       pass it through a public relations firm, such as Mr. Gow’s firm, Acuity Reputation.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Defendant states: “Mr. Barden, who prepared the statement, did not intend it as a

traditional press release solely to dissemination information to the media.” Ms. Giuffre contests

this statement, and all statements regarding Mr. Barden’s beliefs and purposes, and the like.

       Further, as stated in detail in Ms. Giuffre’s Opposition Defendant’s Motion for Summary

Judgment, this Court should not even consider the Barden Declaration. Additionally, there is

absolutely no record evidence of Barden’s intent and the Court should not consider it.

       The next sentence states, “So he intentionally did not pass it [the press release] through a

public relations firm, such as Mr. Gow’s firm, Acuity Reputation.” Again, there is zero record

evidence to support any assertion of Barden’s intent. To the extent that this sentence claims that

Barden did not give the statement to Gow, Ms. Giuffre does not dispute it; as described above,

Defendant gave the statement to Gow with instructions to publish it. See McCawley Dec. at

Exhibit 48, RG(UK)_000009, imaged in full at paragraph 81, supra. To the extent that this

sentence claims that the statement did not pass “through a public relations firm, such as Mr.

Gow’s firm, Acuity Reputation,” Ms. Giuffre disputes that statement. Record documentary

evidence and testimony establish that this statement was disseminated through a public relations

firm, namely, Ross Gow’s firm, Acuity Reputation. See McCawley Dec. at Exhibit 6, Gow Dep.

Tr. at 109:4-6 (“Q. Approximately how long have you been providing such services? A. Acuity

was set up in 2010.”).




DEFENDANT’S PURPORTED FACTS


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22.       The January 2015 statement served two purposes. First, Mr. Barden intended that it
          mitigate the harm to Ms. Maxwell’s reputation from the press’s republication of Ms.
          Giuffre’s false allegations. He believed these ends could be accomplished by suggesting
          to the media that, among other things, they should subject Ms. Giuffre’s allegations to
          inquiry and scrutiny. For example, he noted in the statement that Ms. Giuffre’s
          allegations changed dramatically over time, suggesting that they are “obvious lies” and
          therefore should not be “publicized as news.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

      Ms. Giuffre objects to this paragraph in its entirety. She disputes that the January 2015

statement “served two purposes,” as this statement is wholly unsupported by the record, which

Defendant again neglects to cite. Ms. Giuffre also contests the second sentence in which

Defendant claims that “Mr. Barden intended that it mitigate the harm to Ms. Maxwell’s

reputation from the press’s republication of Ms. Giuffre’s false allegations.” First, Ms. Giuffre

disputes any statement of Barden’s intent as explained above. Second, Ms. Giuffre disputes that

there was any “republication” by the press as a matter of law, as explained in her memorandum

of law opposing summary judgment, as the press did not “republish” the press statement under

New York law. Third, Ms. Giuffre disputes that her allegations are “false,” and cites to the

following non-exhaustive sampling of evidence to corroborate her allegations against Defendant:

         See McCawley Dec. at Exhibit 16, Sjoberg’s May 18, 2016 Dep. Tr. at 8-9, 13, 33-35,

          142-143

         See McCawley Dec. at Exhibit 4, Figueroa June 24, 2016 Dep. Tr. Vol. 1 at 96-97 and

          103

         See McCawley Dec. at Exhibit 14, Rinaldo Rizzo’s June 10, 2016 Dep. Tr. at 52-60

         See McCawley Dec. at Exhibit 12, Lynn Miller’s May 24, 2016 Dep. Tr. at 115

         See McCawley Dec. at Exhibit 13, Joseph Recarey’s June 21, 2016 Dep. Tr. at 29-30

         See McCawley Dec. at Exhibit 15, David Rodgers’ June 3, 2016 Dep. Tr. at 18, 34-36




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    Exhibit 2 Excerpted Rodgers Dep. Ex. 1 at flight #s 1433-1434, 1444-1446, 1464-1470,

    1478-1480, 1490-1491, 1506, 1525-1526, 1528, 1570 and 1589

   See McCawley Dec. at Exhibit 10, Marcinkova Dep. Tr. at 10:18-21; 12:11-15; etc.

   See McCawley Dec. at Exhibit 8, Kellen Dep. Tr. at 15:13-18; 20:12-16; etc. Epstein

    Dep. Tr. at 116:10-15; 117:18-118:10; etc.

   See McCawley Dec. at Exhibit 1, Alessi Dep. Tr. at 28, 52-54

   See McCawley Dec. at Exhibit 42, Photographs including GIUFFRE007162-007182.

   See McCawley Dec. at Exhibit 30, U.S. Attorney Victim Notification Letter

    GIUFFRE002216-002218

   See McCawley Dec. at Exhibit 33, July 2001 New York Presbyterian Hospital Records

    GIUFFRE003258-003290

   See McCawley Dec. at Exhibit 38, Judith Lightfoot psychological records

    GIUFFRE005431-005438

   See McCawley Dec. at Exhibit 28, Message Pad evidencing Defendant arranging to have

    underage girls and young women come to Epstein’s home GIUFFRE001386-001571

   See McCawley Dec. at Exhibit 29, Black Book in which Defendant and other household

    staff maintained a roster of underage girls including

                   , who were minors at the time the Palm Beach Police’s Investigation of

    Jeffrey Epstein GIUFFRE001573-00669

   See McCawley Dec. at Exhibit 40, Sex Slave books Epstein ordered from Amazon.com at

    GIUFFRE006581

   See McCawley Dec. at Exhibit 32, the folder Defendant sent to Thailand with Ms.

    Giuffre bearing Defendant’s phone number GIUFFRE003191-003192



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      See McCawley Dec. at Exhibit 39, the Palm Beach Police Report showing that Epstein

       used women and girls to collect underage girls for his abuse GIUFFRE005614-005700

      See McCawley Dec. at Exhibit 41, Epstein’s Flight Logs showing that Defendant flew

       with Ms. Giuffre 23 times GIUFFRE007055-007161

       Next, Defendant states, “He [Barden] believed these ends could be accomplished by

suggesting to the media that, among other things, they should subject Ms. Giuffre’s allegations to

inquiry and scrutiny.” Ms. Giuffre disputes any statement as to Barden’s “belief” (supra). Ms.

Giuffre disputes that the harm to Defendant’s reputation could be mitigated by the media’s

inquiry into and scrutiny of Ms. Giuffre’s allegations, because a deeper inquiry would only

reveal additional evidence corroborating Ms. Giuffre’s allegations, such as the evidence put forth

in Ms. Giuffre’s opposition memorandum of law and detailed in the bulleted citations, supra.

       Defendant then states, “For example, he [Barden] noted in the statement that Ms.

Giuffre’s allegations changed dramatically over time, suggesting that they are ‘obvious lies’ and

therefore should not be ‘publicized as news.’” First, Ms. Giuffre disputes that Barden noted

anything in the statement, as that is unsubstantiated by the record evidence. Not to do

Defendant’s work for her, but the closest evidence Defendant has for such a statement is

testimony from the Gow deposition wherein Gow speculates that Barden “had a hand in”

drafting the press statement, an opinion which may or may not be based on first-hand

knowledge. See McCawley Dec. at Exhibit 6, Gow Dep. Tr. at 45:14-17 (Q. Okay. A. And I say,

“Thanks, Philip” because I’m aware of the fact that he had a hand, a considerable hand in the

drafting.”) This is wholly insufficient to show who drafted the passages quoted by Defendant

above. Regardless of those passages’ original author, it is ultimately Defendant who “noted”

anything because it is her statement and she directed that it be sent to the media and public.




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       Second, Ms. Giuffre disputes that her allegations have changed over time, “dramatically”

or otherwise. Third, Ms. Giuffre disputes that the press release “suggest[ed]” that her allegations

are “obvious lies,” because Defendant’s press release affirmatively, unambiguously stated that

her allegations are “obvious lies” – there is no subtlety, suggestion, or statement of opinion here.

See Giuffre v. Maxwell, 165 F. Supp.3d 147, 152 (S.D.N.Y. 2016) (“. . . these statements (as they

themselves allege), are capable of being proven true or false, and therefore constitute actionable

fact and not opinion.”

DEFENDANT’S PURPORTED FACTS

23.    Second, Mr. Barden intended the January 2015 statement to be “a shot across the bow” of
       the media, which he believed had been unduly eager to publish Ms. Giuffre’s allegations
       without conducting any inquiry of their own. Accordingly, in the statement he repeatedly
       noted that Ms. Giuffre’s allegations were “defamatory.” In this sense, the statement was
       intended as a cease and desist letter to the media-recipients, letting the media-recipients
       understand the seriousness with which Ms. Maxwell considered the publication of Ms.
       Giuffre’s obviously false allegations and the legal indefensibility of their own conduct.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This paragraph is another purported statement of Defendant’s counsel’s “intent.”

Defendant states: “Second, Mr. Barden intended the January 2015 statement to be a ‘shot across

the bow’ of the media, which he believed had been unduly eager to publish Ms. Giuffre’s’

allegations without conducting any inquiry of their own.” Not only does Defendant once again

refer to Mr. Barden’s intent, but she also mischaracterizes the statement as a “shot across the

bow” of the media. The press release did not threaten or give warning to the media in any way

whatsoever. See McCawley Dec. at Exhibit 26, GM_00068, full image copied in Ms. Giuffre’s

Paragraph 18, supra.

       Next, Ms. Giuffre disputes the sentence, “Accordingly, in the statement he repeatedly

noted that Ms. Giuffre’s allegations were ‘defamatory.’” Barden did not “note” anything in the

statement, nor does Defendant cite to any record evidence that he does. Furthermore, Ms. Giuffre


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denies that any of her allegations are defamatory in the slightest, as they are all true and

substantiated by record evidence (supra).

       Ms. Giuffre also disputes the sentence, “In this sense, the statement was intended as a

cease and desist letter to the media-recipients, letting the media-recipients understand the

seriousness with which Ms. Maxwell considered the publication of Ms. Giuffre’s obviously false

allegations and the legal indefensibility of their own conduct.” First, Ms. Giuffre objects to any

statement of Barden’s intent, as articulated above. Second, Defendant’s conventional press

release was in no way any type of “cease and desist letter.” There is no record evidence in

support of this claim, and Defendant unsurprisingly cites to none. Third, Ms. Giuffre disputes

that any media-recipients would be given to understand “the seriousness with which Ms.

Maxwell considered the publication of Ms. Giuffre’s obviously false allegations and the legal

indefensibility of their own conduct” by Defendant’s self-serving press release, as that is

unsupported by the record. Finally, Ms. Giuffre rejects that her allegations are "obviously false,”

a claim which is completely unsupported by record evidence.

DEFENDANT’S PURPORTED FACTS

24.    Consistent with those two purposes, Mr. Gow’s emails prefaced the statement with the
       following language: “Please find attached a quotable statement on behalf of Ms.
       Maxwell” (emphasis supplied). The statement was intended to be a single, one-time-
       only, comprehensive response—quoted in full—to Ms. Giuffre’s December 30, 2014,
       allegations that would give the media Ms. Maxwell’s response. The purpose of the
       prefatory statement was to inform the media-recipients of this intent.




MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS




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        Ms. Giuffre disputes that any part of Defendant’s press release is “consistent with those

two [of Barden’s] purposes.” Indeed, Ms. Giuffre disputes this and any statement relating to

Barden’s “purposes,” as explained above.

        Next, Ms. Giuffre disputes that, “The statement was intended to be a single, one-time-

only, comprehensive response – quoted in full – to Ms. Giuffre’s December 30, 2014, allegations

that would give the media Ms. Maxwell’s response.” First, Ms. Giuffre disputes this and any

statement relating to Barden’s “intent” as explained above. Second, Ms. Giuffre disputes that

anyone intended the press release to be a one-time-only, comprehensive response. The record

evidence says otherwise: Gow repeatedly issued this statement via email and over the phone for

months on end.

        Next, Defendant states, “The purpose of the prefatory statement was to inform the media-

recipients of this intent.” First, Ms. Giuffre disputes this and any statement relating to Barden’s

purpose as explained above. Second, Ms. Giuffre disputes that the press release was to inform

the media of anything. Defendant issued a press release, instructed them to publish it (by telling

them it was “quotable”), see McCawley Dec. at Exhibit 48, RG(UK)_000009 (supra), and hired

a press agent to feed it to the press:

        Q. Did Ms. Maxwell retain the services of you or your firm?
        A. Yes, she did.
        ***
        Q. Is it your belief that that agreement was in effect on January 2nd, 2015?
        A. Yes.
        Q. Do you recall the terms of that agreement?
        A. Well, it was a re-establishment of an existing agreement so if we go back to the
        original agreement, it was to provide public relations services to Ms. Maxwell in the
        matter of Giuffre and her activities.




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See McCawley Dec. at Exhibit 6 Gow Dep. Tr. at 12:19-21; 13:9-16. The record evidence shows

that Defendant’s intent was for the press to publish her press release: any other interpretation is

not only contrary to logic, but unsupported by the record.

DEFENDANT’S PURPORTED FACTS

25.    Ms. Giuffre’s activities to bring light to the rights of victims of sexual abuse. Ms.
       Giuffre has engaged in numerous activities to bring attention to herself, to the prosecution
       and punishment of wealthy individuals such as Epstein, and to her claimed interest of
       bringing light to the rights of victims of sexual abuse.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Agreed to the portion of Defendant’s assertion in bold font. Ms. Giuffre has not engaged

in activities to bring attention to herself, rather she has taken action to aid in the prosecution of

her abusers, and she seeks to bring light to the rights of victims of sexual abuse.

DEFENDANT’S PURPORTED FACTS

26.    Ms. Giuffre created an organization, Victims Refuse Silence, Inc., a Florida corporation,
       directly related to her alleged experience as a victim of sexual abuse.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre created Victims Refuse Silence, Inc., in order to help other sexually

trafficked victims find the resources they need to recover and heal. See

www.victimsrefusesilence.org.

DEFENDANT’S PURPORTED FACTS

27.    The “goal” of Victims Refuse Silence “was, and continues to be, to help survivors
       surmount the shame, silence, and intimidation typically experienced by victims of sexual
       abuse.” Toward this end, Ms. Giuffre has “dedicated her professional life to helping
       victims of sex trafficking.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Agreed.




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DEFENDANT’S PURPORTED FACTS

28.    Ms. Giuffre repeatedly has sought out media organizations to discuss her alleged
       experience as a victim of sexual abuse.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Denied. Ms. Giuffre was approached by numerous media outlets and refused to speak to

most of them. Media organizations sought her out; she did not seek them out. See McCawley

Dec. at Exhibit 35, GIUFFRE003690, email from Sharon Churcher seeking to interview Ms.

Giuffre.

DEFENDANT’S PURPORTED FACTS

29.    On December 30, 2014, Ms. Giuffre publicly filed an “entirely unnecessary” joinder
       motion laden with “unnecessary,” “lurid details” about being “sexually abused” as a
       “minor victim[]” by wealthy and famous men and being “trafficked” all around the world
       as a “sex slave.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       See Ms. Giuffre’s Paragraph 7, supra, listing multiple reasons why details were, in fact,

necessary.

DEFENDANT’S PURPORTED FACTS

30.    The Ms. Giuffre’s alleged purpose in filing the joinder motion was to “vindicate” her
       rights under the CVRA, expose the government’s “secretly negotiated” “non-prosecution
       agreement” with Epstein, “shed tremendous public light” on Epstein and “other powerful
       individuals” that would undermine the agreement, and support the CVRA Ms. Giuffre’s’
       request for documents that would show how Epstein “used his powerful political and
       social connections to secure a favorable plea deal” and the government’s “motive” to aid
       Epstein and his “co-conspirators.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       See Ms. Giuffre’s Paragraph 7, supra, listing multiple purposes of Ms. Giuffre’s lawyers’

filing of the motion.




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DEFENDANT’S PURPORTED FACTS

31.    Ms. Giuffre has written the manuscript of a book she has been trying to publish detailing
       her alleged experience as a victim of sexual abuse and of sex trafficking in Epstein’s
       alleged “sex scheme.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       See Ms. Giuffre’s Paragraph 52, infra, explaining that the context of this statement is

misleading.

DEFENDANT’S PURPORTED FACTS

32.    Republication alleged by Ms. Giuffre. Ms. Giuffre was required by Interrogatory No. 6
       to identify any false statements attributed to Ms. Maxwell that were “‘published globally,
       including within the Southern District of New York,’” as Ms. Giuffre alleged in
       Paragraph 9 of Count I of her complaint. In response, Ms. Giuffre identified the January
       2015 statement and nine instances in which various news media published portions of the
       January 2015 statement in news articles or broadcast stories.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre objects to this paragraph in its entirety, starting with the bolded heading

(“Republication alleged by Ms. Giuffre”). There is no “republication” as a matter of law in this

case, as explained in Ms. Giuffre’s memorandum of law. Accordingly, Ms. Giuffre is not and has

not alleged republication. As noted in her objection that, it is Defendant who possesses the

knowledge as to where the defamatory statements were published; unsurprisingly, Defendant

failed to comply with Ms. Giuffre’s discovery requests on the same.

       As Defendant already knows, Ms. Giuffre provided a sampling of Defendant’s

defamatory statements published by the news media, as “identification of an exhaustive

responsive list would be unduly burdensome.” This, of course, is because Defendant caused her

statement to be published in an enormous number of media outlets. Ms. Giuffre’s full response to

Interrogatory No. 6 is below. As the Court can see, these nine instances were a good-faith effort

to provide some samples (as it would be virtually impossible to provide all of them), below. Ms.



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Giuffre has also put forth an exhaustive expert report and expert testimony from Jim Jansen

regarding the dissemination of Defendant’s defamatory press release.

               Ms. Giuffre objects because the information interrogatory above is in the
       possession of Defendant who has failed to comply with her production obligations
       in this matter, and has failed to comply with her production obligations with this
       very subject matter. See Document Request No. 17 from Ms. Giuffre’s Second
       Request for Production of Documents to Defendant Ghislaine Maxwell. Maxwell
       has not produced all “URL or Internet addresses for any internet version of such
       publication” that she directed her agent, Ross Gow, to send.

               Ms. Giuffre further objects because the information requested above is in
       the possession of Defendant’s agent, who caused the false statements to be issued
       to various media outlets. Ms. Giuffre has not had the opportunity to depose
       Maxwell’s agent Ross Gow; therefore, this answer remains incomplete.

               Consequently, Ms. Giuffre reserves the right to modify and/or supplement
       her responses, as information is largely in the possession of the Defendant and her
       agent. Ms. Giuffre objects to this interrogatory in that it violates Rule 33 as its
       subparts, in combination with the other interrogatories, exceed the allowable
       twenty-five interrogatories. Ms. Giuffre objects to this request because it is in the
       public domain. Ms. Giuffre also objects in that it seeks information protected by
       the attorney-client/work product privilege, and any other applicable privilege
       stated in the General Objections.

              Notwithstanding such objections, Ms. Giuffre has already produced
       documents supplements such responsive documents with the following list of
       publications. While the identification of an exhaustive responsive list would be
       unduly burdensome, in an effort to make a good faith effort towards compliance,
       Ms. Giuffre provides the following examples, which are incomplete based on the
       aforementioned reasons:




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DEFENDANT’S PURPORTED FACTS
33.    In none of the nine instances was there any publication of the entire January 2015
       statement.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       While there may be certain publications who did not print every word of Defendant’s

lengthy press release, most publications quoted the most salient, to-the-point parts of

Defendant’s statement that call Ms. Giuffre a liar. In each of the nine articles listed above, the

defamatory statement, as articulated by the Complaint and as identified by the Court as

actionable, is published. See Giuffre v. Maxwell, 165 F. Supp.3d 147, 152 (S.D.N.Y. 2016)

(“statements that Giuffre’s claims ‘against [Defendant] are untrue,’ have been ‘shown to be

untrue,’ and are ‘obvious lies’ have a specific and readily understood factual meaning: that

Giuffre is not telling the truth about her history of sexual abuse and Defendant’s role, and that

some verifiable investigation has occurred and come to a definitive conclusion proving that fact.

Second, these statements (as they themselves allege), are capable of being proven true or false,

and therefore constitute actionable fact and not opinion”). Ms. Giuffre also put forth extensive

evidence of the mass distribution of Defendant’s defamatory statement to over 66 million

viewers through her expert witness Jim Jansen. See McCawley Dec. at Exhibit 24, Expert Report

of Jim Jansen.

DEFENDANT’S PURPORTED FACTS

34.    Ms. Maxwell and her agents exercised no control or authority over any media
       organization, including the media identified in Ms. Giuffre’s response to Interrogatory
       No. 6, in connection with the media’s publication of portions of the January 2015
       statement.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre disputes this statement in its entirety, as it is completely devoid of record

evidence. In fact, the record establishes the contrary. First, Defendant hired Gow because his


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position allowed him to influence the press to publish her defamatory statement. A sampling of

Gow’s testimony establishes just that:

       Q.       Did Ms. Maxwell retain the services of you or your firm?
       A.       Yes, she did.

       ***

       Q.       Is it your belief that that agreement was in effect on January 2nd, 2015?
       A.       Yes.
       Q.       Do you recall the terms of that agreement?
       A.       Well, it was a re-establishment of an existing agreement so if we go back to the
                original agreement, it was to provide public relations services to Ms. Maxwell in
                the matter of Giuffre and her activities.

       ***
       Q.       You can answer -- to the extent that anything you testify to is not protected by a
                privilege.
       A.       Ms. Roberts first came to my attention on or around March 2011 when I was
       called   into a meeting with Philip Barden and Ms. Maxwell at Devonshires law office,
       that     she had made -- Ms. Giuffre had made extremely unpleasant allegations about
       Ms.      Maxwell's private life. We were -- Acuity Reputation, my firm was called in to
                protect Ms. Maxwell's reputation, and to set the record straight. That was -- and
       that     work commenced on or around March of 2011.
       ***
       Q.     Does this document fairly depict pages from your -- from Acuity Reputation's
              website?
       A.     It does.
       Q.     Do you see where it says "We manage reputation and forge opinion through
       public relations, strategic communications and high level networking"?
       A.     I do.
       Q.     Is that a true statement?
       A.     Say it again. Sorry.
       Q.     Is that a true statement?
       A.     It is, yes. I wrote that statement.

       ***
       Q.       Okay. Do you see where your website claims that your company has "excellent
                relationships with the media"?
       A.       I do.
       Q.       Is that a true statement?



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       A.      That is true, yeah.
       ***
       Q.      Is it correct that you advertise your “excellent relationships with the media"
               because your services often include giving communications to the media on
               behalf of your clients?
       A.      Yes.
See McCawley Dec. at Exhibit 6 Gow Dep. Tr. at 13:9-16; 15:18-16:3; 109:12-22; 110:16-21;

111:3-7. In addition to testimonial evidence, the proof is also in the result. By using Gow to issue

her press release, Defendant caused her statement to be published by numerous major news

organizations with wide readership all over the globe. Accordingly, the record evidence shows

that Ms. Maxwell, through her agent, had immense control and authority over the media,

convincing major news outlets to publish her words based on nothing more than a single email

from Gow.

DEFENDANT’S PURPORTED FACTS

35.    Ms. Giuffre’s defamation action against Ms. Maxwell. Eight years after Epstein’s guilty
       plea, Ms. Giuffre brought this action, repeating many of the allegations she made in her
       CVRA joinder motion.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Agreed, but noting that the defamation cause of action against Defendant did not accrue

until Defendant defamed her in January of 2015, the same year Ms. Giuffre filed suit against

Defendant for defamation.

DEFENDANT’S PURPORTED FACTS

36.    The complaint alleged that the January 2015 statement “contained the following
       deliberate falsehoods”:

       (a)     That Giuffre’s sworn allegations “against Ghislaine Maxwell are untrue.”
       (b)     That the allegations have been “shown to be untrue.”
       (c)     That Giuffre’s “claims are obvious lies.”




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MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Agreed. However, in discovery, Defendant was finally forced to produce the complete

press release she issued. See McCawley Dec. at Exhibit 26, GIUFFRE00068.

DEFENDANT’S PURPORTED FACTS

37.    Ms. Giuffre lived independently from her parents with her fiancé long before meeting Epstein
       or Ms. Maxwell. After leaving the Growing Together drug rehabilitation facility in 1999,
       Ms. Giuffre moved in with the family of a fellow patient. There she met, and became
       engaged to, her friend’s brother, James Michael Austrich. She and Austrich thereafter rented
       an apartment in the Ft. Lauderdale area with another friend and both worked at various jobs
       in that area. Later, they stayed briefly with Ms. Giuffre’s parents in the Palm Beach/
       Loxahatchee, Florida area before Austrich rented an apartment for the couple on Bent Oak
       Drive in Royal Palm Beach. Although Ms. Giuffre agreed to marry Austrich, she never had
       any intention of doing so.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre did not voluntarily live independently from her parents with her fiancé, rather

Ms. Giuffre was a troubled minor child who was not truly engaged prior to meeting Defendant and

Epstein. Where Ms. Giuffre lived, and who she lived with, are not relevant to the issues being

decided in this action. Again, this is merely a transparent distraction from the case that is

actually at issue, and is being used for the sole purpose of inserting conjecture in an effort to

distract the Court and ultimately the jury.

       Although Austrich testified that he proposed to Ms. Giuffre on Valentine’s Day, see

Austrich at p. 19, Ms. Giuffre was a troubled teen who could not realistically be considered a

fiancé in the true sense of the word, nor was she of legal age to marry. In fact, as accurately

described by Defendant, Ms. Giuffre never had any intention of marrying Austrich. Giuffre Dep. Tr.

at 127:22-128:21. Given that Ms. Giuffre was a child with limited legal capacity at this point, and

that she did not have any intention of marrying Austrich, a reasonable person could not assert that

Ms. Giuffre was engaged.




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DEFENDANT’S PURPORTED FACTS

38.    Ms. Giuffre re-enrolled in high school from June 21, 2000 until March 7, 2002. After
       finishing the 9th grade school year at Forest Hills High School on June 9, 1999, Ms.
       Giuffre re-enrolled at Wellington Adult High School on June 21, 2000, again on August
       16, 2000 and on August 14, 2001. On September 20, 2001, Ms. Giuffre then enrolled at
       Royal Palm Beach High School. A few weeks later, on October 12, 2001, she
       matriculated at Survivors Charter School. Id. Survivor’s Charter School was an
       alternative school designed to assist students who had been unsuccessful at more
       traditional schools. Ms. Giuffre remained enrolled at Survivor’s Charter School until
       March 7, 2002. She was present 56 days and absent 13 days during her time there. Id.
       Ms. Giuffre never received her high school diploma or GED. Ms. Giuffre and Figueroa
       went “back to school” together at Survivor’s Charter School. The school day there lasted
       from morning until early afternoon.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre denies this statement. Either Defendant is blatantly misleading this Court or

Defendant simply does not understand how to interpret Ms. Giuffre’s school records. The record

produced by Defendant (GM0888) is specifically titled “A07. Assignment History,” which

reflects semester start and end dates per each 180 day school year, not dates that Ms. Giuffre

physically enrolled or withdrew from school. See McCawley Dec. at Exhibit 27, GM0888.




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While “Grade 30” indicates adult education, Ms. Giuffre’s attendance records indicate that she

was not present in school between 6/21/00-09/20/01 (see withdrawal codes W32 and W47).




       More importantly, Ms. Giuffre’s school transcripts clearly indicate “NO COURSES

TAKEN” for the 1999-2000 and 2000-2001 school years. (See McCawley Dec. at Exhibit 27,

GM_00893.) Ms. Giuffre’s attempt to work and resume school at Survivor’s Charter School as a

10th grader in the 2001-2002 school year was limited to a portion of the school year (10/20/01-

03/07/02), and further substantiates Ms. Giuffre’s testimony that she attempted to get away from

Epstein’s abuse, along with the following testimony by Figueroa:

       Q:      Was there a period of time between 2001 and when she left in 2002 here she was
               not working for Jeffrey?
       A:      Yes.
       Q:      What period of time was that?
       A:      It was pretty much, like, when she was actually working as a server. Like,
               basically because we were trying to not have her go back there. Like, she did not
               want to go back there. And we were trying to just work without needing his
               money, you know.”

See McCawley Dec. at Exhibit 4, Figueroa Dep. Tr. at 92-93

       Q:      So the thing that Virginia was tired of …What was it that Virginia was trying to
               get away from and stop with respect to working at Jeffrey Epstein's house?
       A:      To stop being used and abused.

See McCawley Dec. at Exhibit 4, Figueroa Dep. Tr. at 248




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       Even still, if the records are correct, which Ms. Giuffre does not concede, the records

indicate that Ms. Giuffre’s attendance was poor, with 69 days present and 32 days absent out of a

required 180 day school year and that she was not enrolled at the end of the school year

(emphasis added).




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See McCawley Dec. at Exhibit 27, GM_00893.
       Ms. Giuffre’s obvious gap in her school attendance, her presence verified by Epstein’s

pilot on flight logs, and an abundence of witness testimony all corroborate her story that she was

that Ms. Giuffre was flying domestic and internationally with Epstein at least 32 times between

12/11/00-07/28/01 and 06/21/02-08/21/02 (Defendant traveling with Ms. Giuffre on 23 of the

flights). See McCawley Dec. at Exhibits 15 and 41, Pilot, David Rodgers’ Dep. Tr. 96:12-166;

Rodger’s Dep. Ex. 1 (Ms. Giuffre flight dates: 12/11/00; 12/14/00 (GIUFFRE007095); 01/26/01;

01/27/01; 01/30/01 (GIUFFRE007096); 03/05/01: 03/06/01; 03/08/01 x’s 2; 03/09/01; 03/11/01

x’s 2 (GIUFFRE007097); 03/27/01; 03/29/01; 03/31/01 (GIUFFRE007098); 04/09/01 x’s 2;

04/11/01; 04/16/01; 05/03/01; 05/05/01 (GIUFFRE007099); 05/14/01(GIUFFRE007100);

06/03/01 06/05/01; 07/04/01; 07/08/01; 07/11/01 (GIUFFRE007101); 07/16/01; 07/28/01;

(GIUFFRE007102); 06/21/02 (GIUFFRE007111); 08/18/02; 08/21/02 (GIUFFRE007112); See

McCawley Dec. at Exhibit 1, Alessi Dep. Tr. at 104: 9-14 (Q: Do you know how long Virginia

had been coming over to the house before she started traveling on an airplane with Ghislaine and

Jeffrey? THE WITNESS: Not too long. I don't think it was too long after that); See McCawley

Dec. at Exhibit 37, GIUFFRE004721 (passport application).

DEFENDANT’S PURPORTED FACTS

39.    During the year 2000, Ms. Giuffre worked at numerous jobs. In 2000, while living with
       her fiancé, Ms. Giuffre held five different jobs: at Aviculture Breeding and Research
       Center, Southeast Employee Management Company, The Club at Mar-a-Lago, Oasis
       Outsourcing, and Neiman Marcus. Her taxable earnings that year totaled nearly $9,000.
       Ms. Giuffre cannot now recall either the Southeast Employee Management Company or
       the Oasis Outsourcing jobs.




MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS



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       Ms. Giuffre disputes this statement. During 2000, Ms. Giuffre shared an apartment with

her then boyfriend, James Michael Austrich and his friend, Mario. See McCawley Dec. at

Exhibit 2, Austrich Dep. Tr. at p. 92. Although Austrich testified that he proposed to Ms. Giuffre

on Valentine’s Day, see Austrich at p. 19, Ms. Giuffre was a troubled teen who could not

realistically be considered a fiancé in the true sense of the word nor was she of legal age to

marry. While Ms. Giuffre held various jobs in 2000, “[SSA] records do not show the exact date

of employment (month and day) because [they] do not need this information to figure Social

Security benefits.” See McCawley Dec. at Exhibit 46, GIUFFRE009176).

       The reason that Ms. Giuffre cannot recall two companies listed on her SSA records

(Southeast Employee Management Company or Oasis Outsourcing) is simply because they were

not her employers. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 470-472. Had Defendant

bothered to run a simple google search, she could have ruled them out as being payroll and

benefit administration companies. See http://www.oasisadvantage.com/west-palm-beach-peo;

http://www.progressiveemployer.com/;

http://www.businesswire.com/news/home/20060501006151/en/Progressive-Employer-Services-

Purchases-Southeast-Employee-Management.

       Ms. Giuffre has testified that she believes she worked at Taco Bell, at an aviary, then

Mar-a-Lago (See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at p. 53, 470). Austrich also

testified that Ms. Giuffre worked with him at Taco Bell, as well as a pet store for “over a month”

before working at Mar-a-Lago (See McCawley Dec. at Exhibit 5, Austrich Dep. Tr. at p. 16, 30,

98). Neither Taco Bell nor the pet store are listed on Ms. Giuffre’s SSA records because they

were most likely paid through payroll companies. See McCawley Dec. at Exhibit 46,

GIUFFRE009178. Ms. Giuffre also testified that she volunteered at an aviary where they




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eventually put her on their payroll, but paid her very little. Giuffre Dep. Tr. at p. 52; Aviculture

Breeding and Research Center taxable earnings for 2000 is $99.48, See McCawley Dec. at

Exhibit 46, GIUFFRE009178.

DEFENDANT’S PURPORTED FACTS

40.    Ms. Giuffre’s employment at the Mar-a-Lago spa began in fall 2000. Ms. Giuffre’s
       father, Sky Roberts, was hired as a maintenance worker at the The Mar-a-Lago Club in
       Palm Beach, Florida, beginning on April 11, 2000. Mr. Roberts worked there year-round
       for approximately 3 years. After working there for a period of time, Mr. Roberts became
       acquainted with the head of the spa area and recommended Ms. Giuffre for a job there.
       Mar-a-Lago closes every Mother’s Day and reopens on November 1. Most of employees
       Mar-a-Lago, including all employees of the spa area such as “spa attendants,” are
       “seasonal” and work only when the club is open, i.e., between November 1 and Mother’s
       Day. Ms. Giuffre was hired as a “seasonal” spa attendant to work at the Mar-a-Lago Club
       in the fall of 2000 after she had turned 17.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre disputes this statement. Defendant cannot simply infer Ms. Giuffre’s

employment history and claim it to be undisputed. The Mar-a-Lago Club produced 177 pages of

records in response to Defendant’s subpoena. However, not one page indicated Ms. Giuffre’s

actual dates of employment, nor whether she was a full-time or seasonal employee. In fact, the

only significant record produced was a single, vague chart entry indicating that Ms. Giuffre was

terminated in 2000. MAR-A-LAGO 0173, 0176.




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       Job postings and job descriptions produced by Mar-a-Lago from 2002 and later are

irrelevant to Ms. Giuffre’s employment because they are from after she worked there. Ms.

Giuffre testified that Mar-a-Lago was a summer job. See McCawley Dec. at Exhibit 5, Giuffre

Dep. Tr. 56, 550. In fact, her father, Sky Roberts, testified that he referred his daughter for

employment, and she did not get the job through a posting (See McCawley Dec. at Exhibit 17,

Sky Roberts Dep. Tr. at 72); he drove his daughter to and from work consistent with his full time

schedule (See McCawley Dec. at Exhibit 17, Sky Roberts Dep. Tr. at 74); he believes the spa –

like the kitchen/dining room - was open to local guests in the summer (See McCawley Dec. at

Exhibit 17, Sky Roberts Dep. Tr. 138-139); and that his daughter was not attending school when

she worked at Mar-a-Lago (See McCawley Dec. at Exhibit 17, Sky Roberts Dep. Tr. 134). In

addition, Juan Alessi testified that it was “Summer” when Defendant approached Ms. Giuffre at

Mar-a-Lago because he specifically remembered “that day I was sweating like hell in the -- in

the car, waiting for Ms. Maxwell to come out of the massage.” See McCawley Dec. at Exhibit 1,

Alessi Dep. Tr. at 94:24-95:2.

DEFENDANT’S PURPORTED FACTS

41.    Ms. Giuffre represented herself as a masseuse for Jeffrey Epstein. While working at
       the Mar-a-Lago spa and reading a library book about massage, Ms. Giuffre met Ms.
       Maxwell. Ms. Giuffre thereafter told her father that she got a job working for Jeffrey
       Epstein as a masseuse. Ms. Giuffre’s father took her to Epstein’s house on one occasion
       around that time, and Epstein came outside and introduced himself to Mr. Roberts. Ms.
       Giuffre commenced employment as a traveling masseuse for Mr. Epstein. Ms. Giuffre
       was excited about her job as a masseuse, about traveling with him and about meeting
       famous people. Ms. Giuffre represented that she was employed as a masseuse beginning
       in January 2001. Ms. Giuffre never mentioned Ms. Maxwell to her then-fiancé, Austrich.
       Ms. Giuffre’s father never met Ms. Maxwell.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre denies Defendant’s false and factually unsupported narrative. In Florida, a

person cannot work as a masseuse unless she is “at least 18 years of age or has received a high



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school diploma or high school equivalency diploma.” Fla. Stat. § 480.041. Ms. Giuffre was a

minor child, under the age of 18, when she was working at Mar-a-Lago as a spa

attendant. Giuffre Dep. Tr. at 61:9-61:24. She was approached by Defendant, who told her she

could make money as a masseuse, a profession in which Ms. Giuffre had no experience. See

McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 111:12-111:21; 116:19-117:12. (Sky Roberts,

Ms. Giuffre father, verified Ms. Giuffre’s account that Defendant recruited his daughter to “learn

massage therapy.” See McCawley Dec. at Exhibit 17, Sky Roberts Dep. Tr. at 80:7-19; 84:18 -

85:1).

          Ms. Giuffre’s father drove her to Jeffrey Epstein’s house, the address of which was given

to her by Defendant. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 117:20-118:1. Ms.

Giuffre was lead into the house, and was instructed by Defendant on how to give a massage,

during which Epstein and Defendant turned the massage into a sexual encounter, and offered Ms.

Giuffre money and a better life to be compliant in the sexual demands of Defendant and

Epstein. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 198:20-199:3; 199:15-199:18.

The minor Ms. Giuffre then began travelling with Defendant and Epstein on private planes and

servicing people sexually for money—working not as a legitimate masseuse, but in a position of

sexual servitude. See McCawley Dec. at Exhibits 5, 1, Giuffre Dep. Tr. at 193:22-194:16;

201:24; 204:24:205:5; Alessi Dep. Tr. at 104:9-104:14.

         Epstein’s house manager, Juan Alessi, described Defendant’s methodical routine of how

she prepared a list of places ahead of time, then drove to each place for the purpose of recruiting

girls to massage Epstein. See McCawley Dec. at Exhibit 18, Alessi Dep. Tr. at 34;

GIUFFRE000105 at 57-58; GIUFFRE000241-242 at p. 212-213. Alessi also stated that on

multiple occasions he drove Defendant to pre-planned places while she recruited girls for




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massage. Id. He furthered testified that he witnessed Ms. Giuffre at Epstein’s house on the very

same day that he witnessed Defendant recruit Ms. Giuffre from Mar-a-Lago. See McCawley

Dec. at Exhibit 18, Alessi Dep. Tr. at 96-98; GIUFFRE000102-103 at p. 48-49.

       Johanna Sjoberg, through her sworn testimony, demonstrated that Defendant recruited

her in a similar fashion by driving to the college campus where she attended school and

approached her to work at Epstein’s home answering phones. See McCawley Dec. at Exhibit 16,

Sjoberg Dep. Tr. at 8-9. Sjoberg testified that she answered phones for one day before

Defendant propositioned her to rub feet for $100.00 an hour. See McCawley Dec. at Exhibit 16,

Sjoberg Dep. Tr. at 13. The following day, Sjoberg was paired with Defendant’s assistant,

Emmy Taylor, who provided her with massage training on Epstein. Sjoberg at 13-15. Ms.

Giuffre’s then-boyfriend, Austrich, testified that he could not recall the name of the person who

recruited Ms. Giuffre. However, he did say that she was recruited by someone to work for

Epstein as a massage therapist, but that Ms. Giuffre did not have any experience. See McCawley

Dec. at Exhibit 2, Austrich Dep. Tr. at 34-35, 100-101, 127-128. Neither Ms. Giuffre nor Sjoberg

were licensed or trained in massage, but were invited soon after being recruited to travel with

Epstein on his private plane to massage him. See McCawley Dec. at Exhibit 16, Giuffre Dep. Tr.

at 16-17; Sjoberg Dep. Tr. at 13-15; Austrich Dep. Tr. at 109-110; Alessi Dep. Tr. at 104.

DEFENDANT’S PURPORTED FACTS

42.    Ms. Giuffre resumed her relationship with convicted felon Anthony Figueroa. In
       spring 2001, while living with Austrich, Ms. Giuffre lied to and cheated on him with her
       high school boyfriend, Anthony Figueroa. Ms. Giuffre and Austrich thereafter broke up,
       and Figueroa moved into the Bent Oak apartment with Ms. Giuffre. When Austrich
       returned to the Bent Oak apartment to check on his pets and retrieve his belongings,
       Figueroa in Ms. Giuffre’s presence punched Austrich in the face. Figueroa and Ms.
       Giuffre fled the scene before police arrived. Figueroa was then a convicted felon and a
       drug abuser on probation for possession of a controlled substance.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS



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       This entire statement is wholly irrelevant to the case being tried, and is improperly being

inserted to tarnish the record. Ms. Giuffre’s dating history as a young teen bears no relation to

the allegations made within Ms. Giuffre’s complaint against Defendant. As previously stated,

Defendant is attempting to muddy the record with nonsensical teen drama in an effort to detract

from her salacious sexual abuse of a minor child. Such statements bear no relation to the issues

presented through her motion for summary judgment, and should be given weight reflecting the

same. As specifically set forth in Ms. Giuffre’s objections to designated testimony, the alleged

information would be excluded by multiple rules of evidence, and contested by Ms. Giuffre. See

McCawley Dec. at Exhibit 5, Virginia Dep. Tr., passim. Moreover, it was the Defendant who

solicited Anthony Figueroa to recruit high school aged girls for Epstein. See McCawley Dec. at

Exhibit 4 Figueroa Tr. at 200 and 228-229.

DEFENDANT’S PURPORTED FACTS

43.    Ms. Giuffre freely and voluntarily contacted the police to come to her aid in 2001
       and 2002 but never reported to them that she was Epstein’s “sex slave.” In August
       2001 at age 17, while living in the same apartment, Ms. Giuffre and Figueroa hosted a
       party with a number of guests. During the party, according to Ms. Giuffre, someone
       entered Ms. Giuffre’s room and stole $500 from her shirt pocket. Ms. Giuffre contacted
       the police. She met and spoke with police officers regarding the incident and filed a
       report. She did not disclose to the officer that she was a “sex slave.” A second time, in
       June 2002, Ms. Giuffre contacted the police to report that her former landlord had left her
       belongings by the roadside and had lit her mattress on fire. Again, Ms. Giuffre met and
       spoke with the law enforcement officers but did not complain that she was the victim of
       any sexual trafficking or abuse or that she was then being held as a “sex slave.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This statement is misleading in several respects and irrelevant. The fact that Ms. Giuffre

did contact police on two occasions for two specific purposes and did not take that opportunity to

also inform the police of everything else that was going on in her life at the time is immaterial.

Defendant implies that anytime someone calls the police for one thing they should tell the police



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about every other crime regardless of the relevance to the crime to which the police responded

and regardless to the threat to herself should she report on these powerful people. Moreover, as

Professor Coonan explained:

       Popular understandings of the term “sex slave” might still connote images of violent
       pimps, white slavery, or of victims chained to a bed in a brothel in the minds of some
       people. To call Ms. Giuffre a victim of sex trafficking would however very accurately
       convey the reality that she along with a great many other victims of contemporary forms
       of slavery are often exploited by the “invisible chains” of fraud and psychological
       coercion.
See McCawley Dec. at Exhibit 23, Coonan Expert Report at 20. Ms. Giuffre specifically testified

that she was fearful of Defendant and Epstein, and, accordingly, she would not have reporter her

abusers. She also knew that Epstein had control over the Palm Beach Police. See McCawley Dec.

at Exhibit 5, Giuffre Dep. Tr. at 240:3-241:2.

DEFENDANT’S PURPORTED FACTS

44.    From August 2001 until September 2002, Epstein and Maxwell were almost entirely
       absent from Florida on documented travel unaccompanied by Ms. Giuffre. Flight
       logs maintained by Epstein’s private pilot Dave Rodgers evidence the substantial number
       of trips away from Florida that Epstein and Maxwell took, unaccompanied by Ms.
       Giuffre, between August 2001 and September 2002. Rodgers maintained a log of all
       flights on which Epstein and Maxwell traveled with him. Epstein additionally traveled
       with another pilot who did not keep such logs and he also occasionally traveled via
       commercial flights. For substantially all of thirteen months of the twenty-two months
       (from November 2000 until September 2002) that Ms. Giuffre lived in Palm Beach and
       knew Epstein, Epstein was traveling outside of Florida unaccompanied by Ms. Giuffre.
       During this same period of time, Ms. Giuffre was employed at various jobs, enrolled in
       school, and living with her boyfriend.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       The flight logs produced in this matter provide substantive evidence of Ms. Giuffre’s

travel while in the control of Defendant and Epstein, but are clearly incomplete. Moreover, Ms.

Giuffre also was flown by Defendant on commercial flights. See McCawley Dec. at Exhibit 5,

Giuffre Dep. Tr. at 155:5-11. Ms. Giuffre disputes Defendant’s statement to the contrary, as

reliance upon incomplete records to prove that Ms. Giuffre was not in fact in the presence of


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Defendant and Epstein is insufficient. Ms. Giuffre incorporates additional details contained in

Response #38 and #46 herein.

       Ms. Giuffre’s obvious gap in her school records, her presence verified by Epstein’s pilot

on flight logs, and witness testimony, corroborate her story that she was traveling with Defendant

and Epstein. In fact, flight logs and pilot testimony clearly prove that Ms. Giuffre was flying

domestic and internationally with Epstein at least 32 times between 12/11/00-07/28/01 and

06/21/02-08/21/02 (Defendant traveling with Ms. Giuffre on 23 of the flights).

       As Defendant acknowledges in her own statement #44, flight records are incomplete.

There were several pilots and co-pilots that flew Epstein and Maxwell (Lawrence “Larry”

Visoski, David (Dave) Rodgers, Bill Hammond, Pete Rathgeb, Gary Roxburgh, and Bill

Murphy) in multiple aircrafts (JEGE, Inc. Aircraft # N908JE – Type B-727-31, and Hyperion

Air, Inc. Aircraft # N909JE – Type G-1159B). Yet, only one pilot, David Rodger’s produced

flight records. See McCawley Dec. at Exhibit 41, David Rodger’s Flight Log,

GIUFFRE007055- GIUFFRE007161. In addition, many of the girls recruited by Defendant

routinely traveled on commercial flights for the purposes of providing massages to Epstein or

guests at Epstein’s New York, New Mexico, or U.S. Virgin Island homes. See McCawley Dec.

at Exhibit 16, Sjoberg Dep. Tr. at 27.

       As thoroughly depicted below, Ms. Giuffre’s passport application, travel records and

witness testimony clearly demonstrate flight logs are incomplete because only one pilot kept a

log, and Ms. Giuffre also flew commercially while she worked for Defendant and Epstein. For

example, on December 11, 2000, while underage, Ms. Giuffre appears on Rodger’s flight log

(flight #1433) traveling with Epstein, Maxwell and Emmy Taylor from PBI (Palm Beach, FL) to

TEB (Teterboro, NJ) then on December 14, 2001 (#1434) continues traveling with Epstein and




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Maxwell to TIST (U.S. Virgin Islands); however, there is no flight records of Ms. Giuffre’s

return to Palm Beach. See McCawley Dec. at Exhibit 15, see McCawley Dec. at Exhibit 41,

Rodger’s Dep. Ex. 1 at GIUFFRE007095; see also Rodger’s Dep. Tr. 96-98 (“Q: And do you

know how Jeffrey Epstein, Ghislaine Maxwell, Adam Perry Lang, and Virginia get off of St.

Thomas or leave the island? A: No. I do not. Probably a charter, I'm guessing.”).




       On January 12, 2001, at Defendant’s directive, Ms. Giuffre applied for a Passport to

travel with them internationally. See McCawley Dec. at Exhibit 37, GIUFFRE004721, passport

application listing travel plans to London; flight logs subsequently lists Ms. Giuffre traveling to

London with Defendant, Epstein and others).




       On January 26, 2001, while underage, Ms. Giuffre appears on Rodger’s flight log (flight

#1444) traveling with Epstein, Maxwell and Emmy Taylor from TEB (Teterboro, NJ) to PBI

(Palm Beach, FL); however, there is no flight record indicating how Ms. Giuffre got to New

York. On January 27, 2001 (#1445) continues traveling with Epstein, Maxwell and Emmy

Taylor from PBI (Palm Beach) to TIST (U.S. Virgin Islands) returning from TIST (U.S. Virgin




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Islands) four days later on January 30, 2001. See McCawley Dec. at Exhibit 15, Rodger’s Dep.

Ex. 1 at GIUFFRE007096; Rodger’s Dep. Tr. at 100-102.




       On March 5, 2001 Ms. Giuffre, Maxwell, Epstein, Emmy Taylor traveled together

internationally (flight #1464) leaving PBI (West Palm Beach) to CYJT (Stephenville, Canada);

then on March 6, 2001 (#1465) they continued on to LFPB (Paris, France) with a layover for

three days. On March 8, 2001, other passengers, including one unidentified female, joined them

on flights # 1466-1467 (from LFPB (Paris, France) - LGGR (Granada, Spain) eventually landing

in EGGW (London, England) on March 11, 2001, where she was then introduced to and lent out

to Prince Andrew. See McCawley Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at GIUFFRE007097;

Rodger’s Dep. Tr. at 104-114.




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       See also photo of Ms. Giuffre, Maxwell and Prince Andrew in London.

GIUFFRE007167; see also Figueroa Dep. Tr. at 251.




       Ms. Giuffre, Epstein, Maxwell, and Taylor remained in London for three days until

departing on March 11, 2001 (#1469), stopping in BGR (Bangor, Maine) before departing

(#1470) back to TEB (Teterboro, NJ); however, there is no flight record of Ms. Giuffre’s return

to Palm Beach. See Rodger’s Dep. Ex. 1 at GIUFFRE007097; Rodger’s Dep. Tr. at 104-114.




       On March 27, 2001, while underage, Ms. Giuffre, Maxwell, Epstein, Emmy Taylor, two

unidentified females and others traveled together (#1478) from PBI (Palm Beach) to TEB

(Teterboro, NJ); then three days later, on March 29, 2001, continued on (#1479) to SAF (Santa

Fe, NM), returning to PBI (Palm Beach, FL) with Nadia Bjorlin (#1480) on March 31, 2001. See

McCawley Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at GIUFFRE007098; Rodger’s Dep. Tr. at

119-125.




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       A few glaring examples of how Ms. Giuffre’s travel records are incomplete is that Ms.

Giuffre traveled from ADS (Addison, Texas) on May 3, 2001 (#1501) to SAT (San Antonio,

Texas); then departs SAT (San Antonio, Texas) on May 5, 2001 (#1502) to PBF (Pine Bluff,

AR) but there is no record produced that explains how Ms. Giuffre arrived in Addison, Texas or

how she returned to Palm Beach from Pine Bluff, AR. Although Epstein’s plane appears to have

to originated from Palm Beach on April 23, 2001, Ms. Giuffre’s name doesn’t not appear on the

log. See Rodger’s Dep. Ex. 1 at GIUFFRE007099; Rodger’s Dep. Tr. at 130-132 (“Q: Do you

know how Virginia Roberts got to Addison, Texas? A: No. … Q: Went to Addison and picked

up Virginia Roberts? A: It looks like it.”).

       Another prime example of how incomplete Ms. Giuffre’s travel records are is on on May

14, 2001. While Ms. Giuffre appears on flight #1506 with Epstein, Maxwell, Emmy Taylor and

others (including one unidentified female) from TIST (U.S. Virgin Islands) to TEB (Teterboro,

NJ), there is no record produced explaining how Ms. Giuffre arrived to the U.S. Virgin Islands or

where she stayed when she landed in New York. See McCawley Dec. at Exhibit 15, Rodger’s

Dep. Ex. 1 at GIUFFRE007100; Rodger’s Dep. Tr. at 132-133 (“Q: What were the other possible

avenues back in those days for Jeffrey Epstein, Ghislaine Maxwell to travel to the Virgin

Islands? A: They could have done a charter, possibly.”) (Id. at 134-135 “Q: All right. So at some

point in time, between May 7th and May 14th – A: Uh-huh. Q: -- somebody flies the Gulfstream

to the Virgin Islands. A: Correct. Q: And who would that be? A: Larry Visoski and I don't know

who the other person would have been.”); Id. at 136 (“Q. Do you know where Virginia Roberts

went during that time after she landed in Teterboro on the 14th? A. I do not.”)




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       On June 3, 2001, Ms. Giuffre travels from PBI (Palm Beach) to TIST (U.S. Virgin

Islands) on flight #1510 for three days; then, on June 5, 2001, continues on flight #1511 to TEB

(Teterboro, NJ); however, there is no record of Ms. Giuffre returning to Palm Beach. See

Rodger’s Dep. Ex. 1 at GIUFFRE007101; Rodger’s Dep. Tr. at 136-137.




       Then, on July 4, 2001, Ms. Giuffre reappears on flight #1524 with Epstein and an

unidentified female leaving TIST (U.S. Virgin Islands) to return to PBI (Palm Beach); however,

there is no flight record that reflects how Ms. Giuffre got to the U.S. Virgin Islands. See

McCawley Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at GIUFFRE007101; Rodger’s Dep. Tr. at

138-139 (“Q. And do you know how Virginia Roberts got to the Virgin Islands? A: No. Q. Is

there any -- is it possible that the Cessna took her or the Boeing took her? Or any other aircraft

that is owned by Jeffrey? A: No, I would -- if I had to guess, I would guess the airlines.”)

       Again, on July 8, 2001, Ms. Giuffre appears on flight #1525 with Epstein, Maxwell,

Emmy Taylor and others including an unidentified female departing PBI (Palm Beach) to TEB



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(Teteboro, NJ). Four days later, on July 11, 2001, Ms. Giuffre, Epstein and Maxwell continue on

(#1526) to CPS (Cahokia-St. Louis, Illinois) which was a stop due to a mechanical delay on the

way to Sante Fe, NM; however, there is no flight record that reflects how Ms. Giuffre returned

home to Palm Beach. See McCawley Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at

GIUFFRE007101; Rodger’s Dep. Tr. 139-141 (“Q: And then three days later, you leave out of

Teterboro to CPS? A: Yes. Q: Where is that? A: That is St. Louis, actually it is Cahokia, Illinois,

across the river from St. Louis. Q. Who are your passengers? A. Jeffrey Epstein, Ghislaine

Maxwell, Emmy Tayler, Virginia Roberts. We were actually en route to Santa Fe. We had a

mechanical problem. We had to go into there for maintenance.”)

       On July 16, 2001, Ms. Giuffre appears on flight #1528 with Epstein, Maxwell and Emmy

Taylor from SAF (Santa Fe, NM) to TEB (Teteboro, NJ); however, Ms. Giuffre’s flight to Santa

Fe, NM is missing from the records. In addition, on July 28, 2001, Ms. Giuffre reappears on the

flight log (#1531) returning with Epstein from TIST (U.S. Virgin Islands) to PBI (Palm Beach);

however, there is no record of Ms. Giuffre’s flight to the U.S. Virgin Islands. See McCawley

Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at GIUFFRE007102; Rodger’s Dep. Tr.142.




       On June 21, 2002, Ms. Giuffre appears on flight #1570 with Epstein, Maxwell, Sarah

Kellen, Cindy Lopez and Jean Luc Brunel from PBI (Palm Beach, FL) to MYEF (George Town,

Bahamas); however, there is no record of Ms. Giuffre returning to Palm Beach. See McCawley

Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at GIUFFRE007111; Rodger’s Dep. Tr. 161-162 (“Q:




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Virginia Roberts was taken to the Bahamas. Do you know where she went from there? A. I do

not.”)




         On August 17, 2002, Ms. Giuffre appears on flight #1589 with Epstein, Maxwell, Sarah

Kellen, Cindy Lopez and others from SAF (Santa Fe, NM) to TEB (Teterboro, NJ); Ms. Giuffre

returns to PBI (Palm Beach, FL) on August 18, 2002 with Epstein and one unidentified female

(#1590). See McCawley Dec. at Exhibit 15, Rodger’s Dep. Ex. 1 at GIUFFRE007112; Rodger’s

Dep. Tr. 165 (“Q: Do you know how Virginia Roberts got to Santa Fe? A: No.”)




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       From September 29, 2002 through October 19, 2002, Defendant and Epstein sent Ms.

Giuffre on a commercial flight to Thailand for massage training and provided her with all

accommodations. See McCawley Dec. at Exhibit 43, Giuffre007411-Giuffre007432.

DEFENDANT’S PURPORTED FACTS

45.    Ms. Giuffre and Figueroa shared a vehicle during 2001 and 2002. Ms. Giuffre and
       Figueroa shared a ’93 white Pontiac in 2001 and 2002. Ms. Giuffre freely traveled around
       the Palm Beach area in that vehicle. In August 2002, Ms. Giuffre acquired a Dodge
       Dakota pickup truck from her father. Figueroa used that vehicle in a series of crimes
       before and after Ms. Giuffre left for Thailand.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre and Tony Figueroa did not share a vehicle during 2001 and 2002. Instead,

Figueroa borrowed Ms. Giuffre’s car while she was traveling with Defendant and Epstein.

Figueroa testified that he “got to take the car, because she was going somewhere else in the

world and did not need it, so…” Figueroa Dep. Tr. At 89-90.

       In fact, Ms. Giuffre was frequently traveling with Defendant and Epstein. See McCawley

Dec. at Exhibit 1, Alessi Dep. Tr. at 9-14 (stating that Virginia started traveling on an airplane

with Ghislaine and Jeffrey “not too long” after she started going over to the house). Figueroa

further testified that Virginia “would normally go about two weeks out of every month” with

Epstein. Figueroa Dep. Tr. at 90. He further stated, “Pretty much every time I took her there, it

was always to his mansion. I picked her up one time -- maybe it was a couple of times --from

the jet stream place. But pretty much every single time it was at the hou- -- at the mansion.” Id.

Moreover, Ms. Giuffre testified she purchased a car from the $10,000 payment she received from

Epstein after she was forced to have sex with Prince Andres in London at Defendant’s home

when Ms. Giuffre was a minor. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 120:1-20.




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DEFENDANT’S PURPORTED FACTS

46.    Ms. Giuffre held a number of jobs in 2001 and 2002. During 2001 and 2002, Ms.
       Giuffre was gainfully employed at several jobs. She worked as a waitress at Mannino’s
       Restaurant, at TGIFriday’s restaurant (aka CCI of Royal Palm Inc.), and at Roadhouse
       Grill. She also was employed at Courtyard Animal Hospital (aka Marc Pinkwasser
       DVM).

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This statement is laughable. Ms. Giuffre was hardly gainfully employed during a time

period in which she was trying to escape from the grip Epstein and Maxwell had on Ms. Giuffre.

While Social Security provides that she earned nominal amounts of earning statements for 2001

and 2002, the records do not indicate the month or quarter of the year’s work. See McCawley

Dec. at Exhibit 46, GIUFFRE009176. For a brief period, Ms. Giuffre attempted to go back to

school to earn her GED, and tried unsuccessfully to hold down waitressing jobs. See McCawley

Dec. at Exhibit 27, GIUFFRE009179.

       For example, in 2001, Ms. Giuffre earned $212.00 as a waitress working “briefly” at

Mannino’s Restaurant. (See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 472). In 2002, Ms.

Giuffre earned $403.64 at CCI of Royal Palm Beach working there (TGI Fridays) for a “short

time period.” (See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 473). Then, Ms. Giuffre

worked at Roadhouse grill until about March 2002 earning $1,247.90 (See McCawley Dec. at

Exhibit 5, Giuffre Dep. Tr. at 474).




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       According to Dr. Pinkwasser’s records, Ms. Giuffre’s also received payroll checks for

weeks ending 04/22/02-06/04/02 earning a total of $1,561.75. (See McCawley Dec. at Exhibit

47, GIUFFRE009203).




       Not long after Ms. Giuffre losing her job at Courtyard Animal Hospital,

GIUFFRE00009211, flight records show that Ms. Giuffre was soon back under Epstein’s control

traveling with Maxwell to the Bahamas, Santa Fe, New Mexico then New York, see McCawley

Dec. at Exhibit 47, GIUFFRE007111-GIUFFRE007112.

DEFENDANT’S PURPORTED FACTS

47.    In September 2002, Ms. Giuffre traveled to Thailand to receive massage training
       and while there, met her future husband and eloped with him. Ms. Giuffre traveled


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       to Thailand in September 2002 to receive formal training as a masseuse. Figueroa drove
       her to the airport. While there, she initially contacted Figueroa frequently, incurring a
       phone bill of $4,000. She met Robert Giuffre while in Thailand and decided to marry
       him. She thereafter ceased all contact with Figueroa from October 2002 until two days
       before Mr. Figueroa’s deposition in this matter in May 2016.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre did travel to Thailand to receive massage training in September 2002.

However, Defendant has inaccurately told only part of the story. Defendant has conveniently left

out certain key facts, which includes the fact that Ms. Giuffre was given an assignment from

Defendant and Epstein that she had to recruit another underage girl from Thailand, and bring that

young girl back to Epstein. See McCawley Dec. at Exhibit 43, GIUFFRE 003191. The

document Ms. Giuffre was give directs her to “call Ms. Maxwell.” See McCawley Dec. at

Exhibit 32, GIUFFRE003191. It is not disputed by Defendant or Epstein, that Ms. Giuffre was

expected to return to Epstein and Maxwell upon completion of her massage training and

assignment. It is undisputed by Ms. Giuffre that she did not return to Defendant and Epstein, but

instead escaped clear across the world to Australia where she remained in hiding from Defendant

and Epstein for several years.

DEFENDANT’S PURPORTED FACTS

48.    Detective Recarey’s investigation of Epstein failed to uncover any evidence that Ms.
       Maxwell was involved in sexual abuse of minors, sexual trafficking or production or
       possession of child pornography. Joseph Recarey served as the lead detective from the
       Palm Beach Police Department charged with investigating Jeffrey Epstein. That
       investigation commenced in 2005. Recarey worked only on the Epstein case for an entire
       year. He reviewed previous officers’ reports and interviews, conducted numerous
       interviews of witnesses and alleged victims himself, reviewed surveillance footage of the
       Epstein home, participated in and had knowledge of the search warrant executed on the
       Epstein home, and testified regarding the case before the Florida state grand jury against
       Epstein. Detective Recarey’s investigation revealed that not one of the alleged Epstein
       victims ever mentioned Ms. Maxwell’s name and she was never considered a suspect by
       the government. None of Epstein’s alleged victims said they had seen Ms. Maxwell at
       Epstein’s house, nor said they had been “recruited by her,” nor paid any money by her,
       nor told what to wear or how to act by her. Indeed, none of Epstein’s alleged victims ever
       reported to the government they had met or spoken to Ms. Maxwell. Maxwell was not


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       seen coming or going from the house during the law enforcement surveillance of
       Epstein’s home. The arrest warrant did not mention Ms. Maxwell and her name was
       never mentioned before the grand jury. No property belonging to Maxwell, including
       “sex toys” or “child pornography,” was seized from Epstein’s home during execution of
       the search warrant. Detective Recarey, when asked to describe “everything that you
       believe you know about Ghislaine Maxwell’s sexual trafficking conduct,” replied, “I
       don’t.” He confirmed he has no knowledge about Ms. Maxwell sexually trafficking
       anybody. Detective Recarey also has no knowledge of Ms. Giuffre’s conduct that is
       subject of this lawsuit.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This statement is false. Detective Recarey knew that Maxwell was involved in the illegal

sexual activities at Epstein's house. He wanted to speak to her, but Maxwell did not return his

calls. See McCawley Dec. at Exhibit 13, Recarey Dep. Tr. at 28:23-29:10. Detective Recarey

concluded that Defendant’s role was to procure girls for Epstein. See McCawley Dec. at Exhibit

13, Recarey Dep. Tr. at 29:16-29:20. In the execution of the search warrant, stationary was

found in the home bearing Maxwell's name, and notes were written by house staff to Maxwell.

See McCawley Dec. at Exhibit 13, Recarey Dep. Tr. at 45:13-25; Id. at 83:3-83:15; see also

Message Pads, GIUFFRE 001412, 001418, 001435, 001446, 001449, 001453, 001454. A key

piece of evidence in the investigation were message pads uncovered in trash pulls, and from

inside the residence during the search warrant. Those message pads revealed numerous calls left

at the house for Maxwell, indicating she was staying in the house during the days when Epstein

was engaging in illegal sex acts with minors.

       Additionally, a walk through video taken during the execution of the search warrant

revealed photos of topless females at the home, and there was even a photograph of Maxwell

naked hanging in the home. The house staff who were deposed in the civil cases each testified to

Maxwell being the boss in charge of everyone in the house. See McCawley Dec. at Exhibits 1,




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19, 21, Banasiak Dep. Tr. at 8:21-9:16; 14:20-15:6; Alessi Dep. Tr. at 23:11-23:20; Rodriguez

Dep. Tr. at 169:1-169:4.

       Rodriguez, the house butler from 2004 through 2005, a time period that revealed daily

sexual abuse of underage females, testified that Maxwell kept a list of the local girls who were

giving massages at her desk, and that Maxwell kept nude photos of girls on her computer. See

McCawley Dec. at Exhibit 21, Rodriguez Dep. Tr. at 238:4-238:22; 302:19-303:10; 306:1-

306:24. Recarey testified that when the search warrant was executed, the house had been

sanitized and the computers removed from the home. See McCawley Dec. at Exhibit 13,

Recarey Dep. Tr. at 72:25-73:15.     Banaziak testified that the computers were removed by

Adriana Ross, another employee who answered to Maxwell. See McCawley Dec. at Exhibit 19,

Banaziak Dep. Tr. at 54:7-22.

       The record is replete with testimony demonstrating that Maxwell recruited Virginia, and

recruited other females, who in turn recruited other females, all who were sexually abuse by

Epstein; meaning, it is undisputed that Maxwell started the top of the pyramid of local Palm

Beach girls who were all eventually identified as victims. See, e.g., McCawley Dec. at Exhibit 1,

Alessi Dep. Tr. at 34:19-35:3; 98:5-98:12; 104:15-104:23. The co-conspirator who maintained

direct contact with the many underage victims was Sarah Kellen, whose sole responsibility was

to schedule underage girls to visit Epstein for sex. Sarah reported directly to Maxwell. See

McCawley Dec. at Exhibit 21, Rodriguez Dep. Tr. at 26:10-26:20. On the day when the search

warrant was executed, the house maid, Ruboyo was scheduled to report to the house that day at 8

am; however, she received a call from Maxwell telling her not to go. See McCawley Dec. at

Exhibit 20, Rabuyo Dep. Tr. at 81:20-82:25. Maxwell orchestrated and ran the entire sex




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trafficking scheme from a high level, and insulated herself from most of the underage girls who

were being paid for sex.

       Tony Figueroa, Ms. Giuffre's ex-boyfriend, did testify that Maxwell personally requested

that he find and bring girls to Epstein for sex once Ms. Giuffre had escaped, and that when he

brought the girls Maxwell interacted with them. See McCawley Dec. at Exhibit 4, Figueroa Dep.

Tr. at 200:6-18; 228:23-229:21. Rodriguez testified unequivocally that Maxwell was "the boss"

and that she knew everything that was going on. See McCawley Dec. at Exhibit 21, Rodriguez

Dep. Tr. 169:1-169:4.

DEFENDANT’S PURPORTED FACTS

49.    No nude photograph of Ms. Giuffre was displayed in Epstein’s home. Epstein’s
       housekeeper, Juan Alessi, “never saw any photographs of Virginia Roberts in Mr.
       Epstein’s house.” Detective Recarey entered Epstein’s home in 2002 to install security
       cameras to catch a thief and did not observe any “child pornography” within the home,
       including on Epstein’s desk in his office.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       This is false. Nude photographs were displayed throughout Epstein’s home.

Furthermore, Alfredo Rodriguez testified to Maxwell having pornography on her computer .

Rodriguez Dep. Tr. 150:10-17; 306:1-306:24. He also testified to there being a collage of nude

photos in Epstein's closet. Id. 253:14-254:18. That collage was eventually taken into evidence

by Detective Recarey, who testified to that fact in his deposition. See McCawley Dec. at Exhibit

13, Recarey Dep. Tr. at 73:19-73:24. And those photos are still in the possession of the FBI or

US Attorney's Office. See McCawley Dec. at Exhibit 13, Recarey Dep. Tr. at 74:2-74:7.

       Numerous other people have testified about nude photographs being on display in the

home including Ronaldo Rizzo, who visited the home on numerous occasions and who was

reprimanded by Maxwell herself for looking at the nude photos. See McCawley Dec. at Exhibit

14, Rizzo Dep. Tr. at 25:19-26:20. Additionally, the search warrant video, taken at a time when


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the house had already been sanitized, revealed photographs of nudity displayed, including a

photograph of Maxwell herself in the nude. See McCawley Dec. at Exhibit 44, Search Warrant

Video attached to the Deposition of Recarey.

       Johanna Sjorberg testified that the Defendant bought her a camera for the specific

purpose of her taking nude photos of herself. See McCawley Dec. at Exhibit 16 Sjoberg Tr. at

150. Finally, Virginia Giuffre testified that there was a nude photograph of her at the house. See

McCawley Dec. at Exhibit 5 Virginia Giuffre Tr. at 232 and 333.

DEFENDANT’S PURPORTED FACTS

50.    Ms. Giuffre intentionally destroyed her “journal” and “dream journal” regarding
       her “memories” of this case in 2013 while represented by counsel. Ms. Giuffre
       drafted a “journal” describing individuals to whom she claims she was sexually trafficked
       as well as her memories and thoughts about her experiences with Epstein. In 2013, she
       and her husband created a bonfire in her backyard in Florida and burned the journal
       together with other documents in her possession. Id. Ms. Giuffre also kept a “dream
       journal” regarding her thoughts and memories that she possessed in January 2016. To
       date, Ms. Giuffre cannot locate the “dream journal.”

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       The dream journal contained memories of Ms. Giuffre’s dreams. While Ms. Giuffre has

looked for this journal, which is wholly irrelevant to this case, she has been unable to locate it.

Ms. Giuffre also wrote in a personal journal some of her experiences with Maxwell and Epstein,

which were harmful and painful. In an effort to relieve herself of those past painful experiences,

Ms. Giuffre followed the advice of a therapist, and burned the journal as a form of cathartic

release at a time when she was under no obligation to maintain the personal memorialization of

personal and painful experiences. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 205:13-

206:10.




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DEFENDANT’S PURPORTED FACTS

51.    Ms. Giuffre publicly peddled her story beginning in 2011. Ms. Giuffre granted
       journalist Sharon Churcher extensive interviews that resulted in seven (7) widely
       distributed articles from March 2011 through January 2015. Churcher regularly
       communicated with Ms. Giuffre and her “attorneys or other agents” from “early 2011” to
       “the present day.” Ms. Giuffre received approximately $160,000 for her stories and
       pictures that were published by many news organizations.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Defendant's statement misrepresents history. In 2011, Ms. Giuffre was still in hiding

from Epstein and Maxwell in Australia. Ms. Giuffre was not looking to sell anything or even

speak with anyone about what had happened to her in her previous life from which she

dramatically escaped. Journalist, Sharon Churcher, located Ms. Giuffre and impressed the

importance of Ms. Giuffre standing up to those who had harmed her and speak with Federal

authorities, which Ms. Giuffre did in 2011. See McCawley Dec. at Exhibit 31, Redacted 302

GIUFFRE001235-01246.

       In addition, Churcher impressed the importance of bringing the abuse of Defendant and

Epstein to public light to prevent their continued abuse of others. See McCawley Dec. at Exhibit

35, Giuffre003690. After much deliberation, Ms. Giuffre agreed to be interviewed by Churcher,

and was compensated for sharing her story, which came at a heavy price of being publicly

scrutinized.

DEFENDANT’S PURPORTED FACTS

52.    Ms. Giuffre drafted a 144-page purportedly autobiographical book manuscript in
       2011 which she actively sought to publish. In 2011, contemporaneous with her
       Churcher interviews, Ms. Giuffre drafted a book manuscript which purported to
       document Ms. Giuffre’s experiences as a teenager in Florida, including her interactions
       with Epstein and Maxwell. Ms. Giuffre communicated with literary agents, ghost writers
       and potential independent publishers in an effort to get her book published. She
       generated marketing materials and circulated those along with book chapters to numerous
       individuals associated with publishing and the media.



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MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Defendant’s characterization of these activities are out of context and thus misleading. In

2008, Ms. Giuffre received a Victim Notification Letter from the United States Attorney’s office

for the Southern District of Florida, see McCawley Dec. at Exhibit 30, GIUFFRE0010202,

regarding her sexual victimization by Epstein. Thereafter, in 2011, she sought psychological

counseling from a psychologist for the trauma she endured. Also that year, journalist Sharon

Churcher sought her out, and traveled half way around the globe to interview her on painful

subjects. Ms. Giuffre was interviewed by the FBI in 2011. See McCawley Dec. at Exhibit 31,

FBI Redacted 302 GIUFFRE01235-1246. She was also getting psychological help. See

McCawley Dec. at Exhibit 38, Lightfoot Records, GIUFFRE005431-005438. In that situation,

Ms. Giuffre began to draft a fictionalized account of what happened to her. It was against this

backdrop of her trauma being unearthed, her steps to seek psychological counseling for it, that

she drafted this manuscript. Doing so was an act of empowerment and a way of reframing and

taking control over the narrative of her past abuse that haunts her.

       “Writing ‘I’ has been an emancipatory project for women.” Perreault, Jeanne,

“AUTOGRAPHY/ TRANSFORMATION/ ASYMMETRY,” Women, Autobiography, Theory A Reader

edited by Sidonie Smith & Julia Watson. Indeed, scholars have written that the act of engaging in

autobiography or even accounts loosely based on autobiography, is a process of taking control of

one’s own narrative and one’s own self: “Thus a specific recitation of identity involves the

inclusion of certain identity contents and the exclusion of others; the incorporation of certain

narrative itineraries and internationalities, the silencing of others; the adoption of certain

autobiographical voices, the muting of others.” Smith, Sidonie, PERFORMATIVITY,




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AUTOBIOGRAPHICAL PRACTICE, RESISTANCE, Women, Autobiography, Theory A Reader edited by

Sidonie Smith & Julia Watson.

       Indeed, even a cursory look at the manuscript penned by Ms. Giuffre informs the reader

that she is trying to put forth a more palatable and more empowering narrative to over-write that

powerlessness she felt when being abused by Defendant and Epstein. While Ms. Giuffre

explored trying to publish her story to empower other individuals who were subject to abuse, she

ultimately decided not to publish it. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. 249:16-

18; 250:19-251:3.

DEFENDANT’S PURPORTED FACTS

53.    Ms. Giuffre’s publicly filed “lurid” CVRA pleadings initiated a media frenzy and
       generated highly publicized litigation between her lawyers and Alan Dershowitz. On
       December 30, 2014, Ms. Giuffre, through counsel, publicly filed a joinder motion that
       contained her “lurid allegations” about Ms. Maxwell and many others, including Alan
       Dershowitz, Prince Andrew, Jean-Luc Brunel. The joinder motion was followed by a
       “corrected” motion and two further declarations in January and February 2015, which
       repeated many of Ms. Giuffre’s claims. These CVRA pleadings generated a media
       maelstrom and spawned highly publicized litigation between Ms. Giuffre’s lawyers,
       Edwards and Cassell, and Alan Dershowitz. After Ms. Giuffre publicly alleged Mr.
       Dershowitz of sexual misconduct, Mr. Dershowitz vigorously defended himself in the
       media. He called Ms. Giuffre a liar and accused her lawyers of unethical conduct. In
       response, attorneys Edwards and Cassell sued Dershowitz who counterclaimed. This
       litigation, in turn, caused additional media attention by national and international media
       organizations.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       See Ms. Giuffre’s Paragraph 7, supra, explaining why the allegations were necessary and

appropriate for multiple reasons. Ms. Giuffre disputes Defendant’s false characterization of these

events, and, indeed, the media attention was caused by Defendant’s is suing her defamatory press

release.




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DEFENDANT’S PURPORTED FACTS

54.    Ms. Giuffre formed non-profit Victims Refuse Silence to attract publicity and speak
       out on a public controversy. In 2014, Ms. Giuffre, with the assistance of the same
       counsel, formed a non-profit organization, Victims Refuse Silence. According to Ms.
       Giuffre, the purpose of the organization is to promote Ms. Giuffre’s professed cause
       against sex slavery. The stated goal of her organization is to help survivors surmount the
       shame, silence, and intimidation typically experienced by victims of sexual abuse. Ms.
       Giuffre attempts to promote Victims Refuse Silence at every opportunity. For example,
       Ms. Giuffre participated in an interview in New York with ABC to promote the charity
       and to get her mission out to the public.

MS. GIUFFRE’S STATEMENT CONTROVERTING DEFENDANT’S FACTS

       Ms. Giuffre did not form the non-profit Victims Refuse Silence to "speak out on a public

controversy," but instead to simply help survivors of sexual abuse and sexual trafficking. In

order to provide assistance to victims, Ms. Giuffre attempted to talk about the non-profit’s

mission when she had the opportunity to do so. See www.victimsrefusesilece.org.

                MS. GIUFFRE’S STATEMENT OF UNDISPUTED FACTS

       55.     Virginia Roberts was born August 9, 1983. See McCawley Dec. at Exhibit 51,

Driver’s License GIUFFRE009209.

       56.     Virginia Roberts turned 18 on August 9, 2001.

       57.     In 2000, Virginia's father Sky Roberts worked at the Mar-a-Lago. See McCawley

Dec. at Exhibit 17, Sky Roberts Dep. Tr. at 72, 74.

       58.     Sky Roberts got Virginia a job at Mar-a-Lago in 2000, either months before or

just after Virginia's 17th birthday. See McCawley Dec. at Exhibit 17, Sky Roberts Dep. Tr. at

72, 74; Giuffre Dep. Tr. at 25:19-25:21; 28:10-28:12.

       59.     The only year in which Virginia was employed at Mar-a-Lago was 2000. See

McCawley Dec. at Exhibit 49, MAR-A-LAGO 0173, 0176.




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       60.     Virginia worked at Mar-a-Lago as a spa bathroom attendant. See McCawley Dec.

at Exhibit 5, Giuffre Dep. Tr. at 61:9-61:24; Austrich Dep. Tr. at 100:3-12.

       61.     Virginia was not a masseuse at Mar-a-Lago as she had no massage experience.

See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 111:12-111:21; 116:19-117:12; Austrich

Dep. Tr. at 34-35, 100-101, 127-128; Figueroa Dep. Tr. at 82:10-15; 168:24-169:1; Sky Roberts

Dep. Tr. at 80:7-19; 84:18 -85:1.

       62.     Maxwell approached Virginia at Mar-a-Lago, and recruited her to come to Jeffrey

Epstein's house. See McCawley Dec. at Exhibits 1, 5, and 17, Giuffre Dep. Tr. at 111:12-111:21;

116:19-117:12; Alessi Dep. Tr. at 94:24-95:2; Sky Roberts Dep. Tr. at 80:7-19; 84:18 -85:1.

       63.     At the time Maxwell recruited Virginia to Jeffrey Epstein's house, Virginia was

either 16 or 17 years old, depending on whether this occurred just before or just after Virginia's

birthday. See McCawley Dec. at Exhibit 49, MAR-A-LAGO 0173, 0176.

       64.     Virginia followed Maxwell's instructions and reported to Jeffrey Epstein's house

on the night of the day when Maxwell approached Virginia at Mar-a-Lago. See McCawley Dec.

at Exhibits 5 and 18, Giuffre Dep. Tr. at 117:20-118:1; Alessi Dep. Tr. at                 96-98;

GIUFFRE000102-103 at p. 48-49.

       65.     Maxwell told Virginia at Mar-a-Lago that Virginia could get paid for giving a

massage to Jeffrey Epstein. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 111:12-111:21;

116:19-117:12.

       66.     When Virginia arrived at Epstein's house, she was taken upstairs to Epstein's

bedroom, and instructed by Maxwell and Epstein how to give Epstein a massage. See McCawley

Dec. at Exhibit 5, Giuffre Dep. Tr. at 198:20-199:3; 199:15-199:18; Epstein Dep. Tr. at 74:3-14.




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       67.     Epstein and Maxwell turned the massage into a sexual encounter. See McCawley

Dec. at Exhibit 5, Giuffre Dep. Tr. at 198:20-199:3; 199:15-199:18.

       68.     Virginia was not a professional masseuse, and was not old enough to be a

masseuse in Florida even though Maxwell testified she only hired professional masseuses. See

McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at 61:9-61:24, 111:12-111:21, 116:19-117:12; Fla.

Stat. § 480.041; Maxwell Dep. Tr. at 23:21-24:9; 31:6-18; 41:7-13; 220:13-221:2; 225:23-

226:20; 248:5-16; 310:6-17; 383:2-18.

       69.     Maxwell and Epstein promised Virginia money and a better life in exchange for

complying with their sexual demands. See McCawley Dec. at Exhibit 5, Giuffre Dep. Tr. at

198:20-199:3; 199:15-199:18.

       70.     Maxwell had sex with Virginia and other females. See McCawley Dec. at Exhibit

5, Giuffre Dep. Tr. at 138:17-139:16; Maxwell 07-22-2016 Dep. Tr. at 86:25-87:9; 91:15-91:21.

       71.     Virginia was trafficked nationally and internationally for sexual purposes. See

McCawley Dec. at Exhibits 5, 1, 41? GIUFFRE007055-007161 (Flight Logs); Giuffre Dep. Tr.

at 193:22-194:16; 201:24; 204:24:205:5; Alessi Dep. Tr. at 104:9-104:14; Andrew Photo

GIUFFRE007167; Spain Photo GIUFFRE007166.

       72.     Maxwell recruited other non-professionals under the guise of being a masseuse,

but in reality only recruited girls for sexual purposes. See McCawley Dec. at Exhibits 5, 16, 4, 1,

18 Giuffre Dep. Tr. at 198:20-199:3; Sjoberg Dep. Tr. at 13-15; Figueroa Dep. Tr. at 88:12-22;

Alessi Dep. Tr. at 34; GIUFFRE000105 at 57-58; GIUFFRE000241-242 at p. 212-213.

       73.     Maxwell was the boss of others whose job it was to recruit minor females for

Epstein for sex, such as Sarah Kellen. See McCawley Dec. at Exhibit 21, Rodriguez Dep. Tr. at

26:10-26:20.




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       74.    Maxwell was a recruiter of underage girls and other young females for Epstein for

sex, and was the boss in charge of those females. See McCawley Dec. at Exhibits 16, 4, 21, and

1, Sjoberg Dep. Tr. 8-9, 13-15, 27; Figueroa Dep. Figueroa Dep. Tr. at 200:6-18; 228:23-229:21;

Rodriguez Dep. Tr. 169:1-169:4; Alessi Dep. Tr. at        23:11-23:20; 34:19-35:3; 98:5-98:12;

104:15-104:23.

Dated: January 31, 2017                     Respectfully Submitted,

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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on January 31, 2017, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served this day on the individuals identified below via transmission of Notices

of Electronic Filing generated by CM/ECF.

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